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          EXHIBIT 1-B
    Redacted Version of
Document Sought to be Sealed
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1                     UNITED STATES DISTRICT COURT
2                  NORTHERN DISTRICT OF CALIFORNIA
3
4     IN RE:     FACEBOOK, INC.,                MDL No. 2843
5     CONSUMER USER PROFILE                     Case No.
6     LITIGATION                                18-md-02843-VC-JSC
      ___________________________
7     This document relates to:
8     ALL ACTIONS
9     ____________________________
10                      **HIGHLY CONFIDENTIAL**
11
12             ZOOM DEPOSITION OF FACEBOOK's 30(b)(6)
13             CORPORATE REPRESENTATIVE - DAVID MILLER
14    (Reported Remotely via Video & Web Videoconference)
15        Los Angeles, California (Deponent's location)
16                        Friday, July 22, 2022
17                                  Volume 1
18
19
20    STENOGRAPHICALLY REPORTED BY:
21    REBECCA L. ROMANO, RPR, CSR, CCR
      California CSR No. 12546
22    Nevada CCR No. 827
      Oregon CSR No. 20-0466
23    Washington CCR No. 3491
24    JOB NO. 5300521(b)
25    PAGES 1 - 132

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1                     UNITED STATES DISTRICT COURT
2                  NORTHERN DISTRICT OF CALIFORNIA
3
4     IN RE:    FACEBOOK, INC.,                 MDL No. 2843
5     CONSUMER USER PROFILE                     Case No.
6     LITIGATION                                18-md-02843-VC-JSC
7     ___________________________
8     This document relates to:
9     ALL ACTIONS
10    ____________________________
11
12
13
14
15                 DEPOSITION OF DAVID MILLER, taken on
16    behalf of the Plaintiffs, with the deponent located
17    in Los Angeles, California, commencing at
18    12:41 p.m., Friday, July 22, 2022, remotely
19    reported via Video & Web videoconference before
20    REBECCA L. ROMANO, a Certified Shorthand Reporter,
21    Certified Court Reporter, Registered Professional
22    Reporter.
23
24
25

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1                          APPEARANCES OF COUNSEL
2     (All parties appearing via Web videoconference)
3
4     For the Plaintiffs:
5             KELLER ROHRBACK L.L.P.
6             BY:   BENJAMIN GOULD
7             BY:   DEREK W. LOESER
8             BY:   CARI CAMPEN LAUFENBERG
9             BY:   ADELE DANIEL
10            Attorneys at Law
11            1201 Third Avenue
12            Suite 3200
13            Seattle, Washington 98101
14            (206) 623-1900
15            bgould@kellerrohrback.com
16            dloeser@kellerrohrback.com
17            claufenberg@kellerrohrback.com
18            adaniel@kellerrohrback.com
19
20
21
22
23
24
25    /////

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1                          APPEARANCES OF COUNSEL
2     (All parties appearing via Web videoconference)
3
4     For the Plaintiffs:
5             KELLER ROHRBACK L.L.P.
6             BY: CHRIS SPRINGER
7             Attorney at Law
8             801 Garden Street
9             Suite 301
10            Santa Barbara, California 93101
11            (805) 456-1496
12            cspringer@kellerrohrback.com
13
14    For Facebook, Inc.:
15            GIBSON, DUNN & CRUTCHER LLP
16            BY:   AUSTIN V. SCHWING
17            BY:   ROSEMARIE T. RING
18            Attorneys at Law
19            555 Mission Street
20            Suite 3000
21            San Francisco, California 94105-0921
22            (415) 393-8200
23            aschwing@gibsondunn.com
24            rring@gibsondunn.com
25    /////

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1                     APPEARANCES OF COUNSEL(cont'd)
2     (All parties appearing via Web videoconference)
3
4     For Facebook, Inc.:
5             GIBSON, DUNN & CRUTCHER LLP
6             BY:   CASSARAH M. CHU
7             BY:   KELLY E. HERBERT
8             Attorneys at Law
9             200 Park Avenue
10            New York, New York 10166-0193
11            (212) 351-6381
12            cmchu@gibsondunn.com
13            kherbert@gibsondunn.com
14    and
15            BY:   SHAQUILLE GRANT
16            Attorney at Law
17            2001 Ross Avenue
18            Suite 2100
19            Dallas, Texas 75201
20            (214) 698-3206
21            sgrant@gibsondunn.com
22
23
24
25    /////

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1                     APPEARANCES OF COUNSEL(cont'd)
2     (All parties appearing via Web videoconference)
3
4     For Facebook, Inc.:
5             GIBSON, DUNN & CRUTCHER LLP
6             BY:    FELISHA R. MILES
7             Attorney at Law
8             333 South Grand Avenue
9             Los Angeles, California 90071-3197
10            (213) 229-7523
11            fmiles@gibsondunn.com
12
13            JAMS
14            BY:    DANIEL B. GARRIE
15            Special Master
16            555 W. 5th Street
17            32nd Floor
18            Los Angeles, California 90013
19            (213) 253-9706
20            dgarrie@jamsadr.com
21
22
23
24
25    /////

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1                            APPEARANCES(cont'd)
2     (All parties appearing via Web videoconference)
3
4     ALSO PRESENT:
5             Ian Chen, Associate General Counsel,
6     Litigation and Regulatory at Meta
7             Abimbola Oladokun, Lead Counsel, General
8     Litigation at Meta
9             John Macdonell, Videographer
10
11
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1                                 I N D E X
2     DEPONENT                                             EXAMINATION
3     DAVID MILLER                                                  PAGE
4     VOLUME 1
5                               BY MR. GOULD                              11
6                               BY MR. SCHWING                        125
7
8
9                      PREVIOUSLY MARKED EXHIBITS
10    NUMBER                                                        PAGE
11    Exhibit 619                                                         72
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1        Los Angeles, California; Friday, July 22, 2022

2                               12:41 p.m.

3                               ---o0o---

4

5                  THE VIDEOGRAPHER:     Okay.    We're on the   12:41:09

6     record.    It's 12:41 p.m. Pacific Time on

7     July 22nd, 2022.

8                  This is the deposition of David Miller.

9     We're here in the matter of Facebook Consumer

10    Privacy User Profile Litigation.                           12:41:23

11                 I'm John Macdonell, the videographer,

12    with Veritext.

13                 Before the reporter swears the witness,

14    would counsel please identify themselves, beginning

15    with the noticing attorney, please.                        12:41:35

16                 MR. GOULD:     My name is Benjamin Gould

17    with Keller Rohrback LLP, and I am representing the

18    plaintiffs in the proposed class.

19                 MR. SCHWING:     Austin Schwing -- I'm

20    sorry.    My voice is shot.                                12:41:53

21                 (Discussion off the stenographic record.)

22                 MR. SCHWING:     Austin Schwing,

23    Gibson, Dunn & Crutcher.        I represent the

24    defendant.

25                 And with me are Ian Chen, Cassarah Chu,       12:42:06

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1     Felisha Miles, Shaquille Grant, Kelly Herbert, and        12:42:12

2     that's all.

3               SPECIAL MASTER GARRIE:     And this is

4     Special Master Daniel Garrie.    I'm here on behalf

5     of the Court.                                             12:42:26

6               THE COURT REPORTER:    Mr. Miller, if you

7     could raise your right hand for me, please.

8               THE DEPONENT:   (Complies.)

9               THE COURT REPORTER:    You do solemnly

10    state, under penalty of perjury, that the testimony       12:22:22

11    you are about to give in this deposition shall be

12    the truth, the whole truth and nothing but the

13    truth?

14              THE DEPONENT:   Yes, I do.

15                                                              12:22:22

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20                                                              12:22:22

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25    /////                                                     12:22:22

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1                        DAVID MILLER,                          12:22:22

2     having been administered an oath, was examined and

3     testified as follows:

4

5                            EXAMINATION                        12:42:45

6     BY MR. GOULD:

7          Q.   Good afternoon, Mr. Miller.        Thanks for

8     making yourself available.

9               Rather than showing you the notice of

10    deposition and the subtopic on which you've been          12:43:01

11    designated to testify, I -- I will just ask you,

12    you've been designated by Facebook to testify on

13    its behalf on a topic that is related to video

14    content on the Facebook Platform, correct?

15         A.   Yes.                                            12:43:27

16              MR. SCHWING:     I'm sorry.     Just for the

17    record, just -- not across all video content and

18    all content -- I don't want to be difficult, Ben,

19    but like that -- that's just too --

20              MR. GOULD:     No, no, I get it --              12:43:41

21              MR. SCHWING:     That's not what he's here

22    to talk about.

23              MR. GOULD:     Sure.   Right.

24         Q.   (By Mr. Gould)     And Mr. Miller, you --

25    you realize that your testimony here is on behalf         12:43:50

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1     of Facebook, correct?                                            12:43:55

2             A.    That's correct.

3             Q.    And by "Facebook," I should clarify,

4     like, I mean Meta and everything under that general

5     umbrella.                                                        12:44:07

6                   Okay if I use "Facebook" to refer to

7     that?

8             A.    I'm -- I'm okay with that.

9                   MR. GOULD:     Okay.   Fabulous.

10                  I'm having a really hard time hearing              12:44:17

11    Mr. Miller.      Is anyone -- is that true for anybody

12    else or am I the only one?

13                  THE VIDEOGRAPHER:      Yeah.   If you want to

14    go off the record real quick, we can change it to

15    his cell phone audio.                                            12:44:26

16                  MR. SCHWING:     I've got a -- can we just

17    go in a breakout room and I'll chat with tech folks

18    and we -- I -- and there may be another computer we

19    can use, or something like that, and we just try to

20    figure this out real quick.                                      12:44:37

21                  MR. GOULD:     Sure.   Of course.     Of course.

22                  THE VIDEOGRAPHER:      Okay.   We're off the

23    record.      It's 12:44 p.m.

24                  (Recess taken.)

25                  THE VIDEOGRAPHER:      Okay.   We're back on       12:50:04

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1     the record.    It's 12:50 p.m.                               12:50:05

2                 THE DEPONENT:     You're on mute.

3                 MR. GOULD:     Thank you, Mr. Miller.        I

4     appreciate it.

5          Q.     (By Mr. Gould)     So currently, Facebook        12:50:22

6     users are able to upload videos to the

7     Facebook Platform; is that correct?

8          A.     That's correct.

9          Q.     Okay.   When did Facebook first enable its

10    users to upload video content to the platform?               12:50:43

11         A.     In 2006.

12         Q.     When did the Facebook Platform begin, if

13    you know?

14         A.     With -- do you mean with respect to

15    video?                                                       12:51:10

16         Q.     No, I'm -- I'm sorry.

17                When did -- when did like the Facebook

18    social media platform like come into existence?

19                Was -- was it -- it was before 2006,

20    right?                                                       12:51:24

21         A.     Before video -- do you mean before video?

22         Q.     Yeah.   Before video.

23         A.     Before 2006.

24         Q.     Okay.   Sorry.    I'm just trying to get

25    some perspective on -- on what sort of time we're            12:51:39

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1     talking about.                                            12:51:41

2                 So is it fair to say that quite early,

3     though, in Facebook's existence, it enabled its

4     users to upload video to the platform?

5                 MR. SCHWING:     Vague.                       12:51:56

6                 THE DEPONENT:     What -- how are you

7     defining the beginning of Facebook's existence?

8          Q.     (By Mr. Gould)     Sure.

9                 Do you know when Mark Zuckerberg created

10    Facebook?                                                 12:52:14

11         A.     Approximately.

12         Q.     When?

13         A.     Say around -- around 2005.

14         Q.     Right.

15                And like if I remember correctly,             12:52:30

16    initially, for some period, it was only people with

17    an .EDU email address who were able to access the

18    platform.

19                Am I -- am I right about that?

20                MR. SCHWING:     That's outside the scope     12:52:48

21    of the -- the deposition.

22         Q.     (By Mr. Gould)     If -- if you don't know,

23    you can say you don't know.

24         A.     I'm -- sorry.     Can you repeat the

25    question.                                                 12:52:55

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1          Q.     Sure.                                         12:52:56

2                 If I remember correctly, there was some

3     period around 2005/2006, when only people with an

4     .EDU email address were able to create an account

5     on -- on Facebook?                                        12:53:17

6                 MR. SCHWING:     It's outside the scope of

7     the deposition.

8                 THE DEPONENT:     I -- I remember there was

9     a time where some affiliation with a school was

10    required, but that's all I know.                          12:53:31

11         Q.     (By Mr. Gould)     Fair enough.

12                When was Facebook's initial public

13    offering?

14                MR. SCHWING:     It's outside the scope of

15    the deposition.                                           12:53:41

16                THE DEPONENT:     Oh, I don't -- I don't --

17    I don't remember the date of the IPO.

18         Q.     (By Mr. Gould)     Fair enough.

19                Do you know what changes had to be made

20    to the Facebook Platform initially in order for its       12:54:01

21    users to be able to upload video?

22         A.     Some examples of what happened in 2006

23    would be the ability to, say, upload a movie file.

24    And -- and after a user would share a movie file,

25    if other users wanted to watch that movie file,           12:54:35

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1     some rendering capabilities, some movie play, some            12:54:40

2     video play, movie file play, some video play

3     capabilities would have to have been added to the

4     platform.

5          Q.     And by "movie file," do you mean a file           12:54:55

6     that ends with .MOV?

7          A.     That's what I meant.    There are other

8     video files.    For example, today there are .MP4

9     files.    But that's what I meant by a .MOV file.

10         Q.     And so initially, in 2006, is it the case         12:55:20

11    that only .MOV files were enabled to be uploaded,

12    do you know?

13         A.     Here -- here's what I can say.        You could

14    also in 2006 -- so let me -- let me clarify.

15                In 2006, a link to a video that was on            12:55:41

16    another website could be added.       The files

17    themselves could be uploaded, so the video files

18    themselves.    And the extensions, I don't remember.

19                But, you know, for all intents and

20    purposes, these are -- these are -- these are                 12:56:01

21    things that render video.     The files themselves

22    could be uploaded in 2007.

23         Q.     Okay.   So it was in -- okay.

24                So prior to 2007, users could link to

25    videos somewhere else on the Web, but not upload              12:56:26

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1     them to the Facebook Platform.                                     12:56:31

2                  Am I understanding you correctly?

3           A.     Yes.

4           Q.     Okay.   Could you describe, generally, the

5     changes that have been made to Facebook's platform                 12:56:56

6     since 2007, in order to facilitate the uploading of

7     videos by users?

8           A.     So to facilitate video upload, some

9     changes could be where you would have to go to

10    upload those -- those files.          In some cases, you           12:57:30

11    would have to go to your profile -- I mean, early

12    on.

13                 You -- if you were a page in 2007, you

14    would go to your page.         You could upload it.        There

15    were many -- there were various other -- I would --                12:57:51

16    I would call it entry points that got created over

17    the years.

18          Q.     What's --

19          A.     And -- yeah.

20          Q.     I'm sorry.      Go ahead.                             12:58:02

21          A.     Yeah.   So --

22                 MR. SCHWING:      Were -- were you finished,

23    Mr. Miller?

24                 You should con- -- continue with your

25    answer, if you were -- if you're done, that's fine.                12:58:07

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1               THE DEPONENT:   I'm done.                       12:58:10

2          Q.   (By Mr. Schwing)   Okay.    What were the

3     first entry points to be created after 2007?

4          A.   So I -- I actually don't know the first

5     entry points that were created after 2007, but I          12:58:36

6     can describe entry points that exist today.

7          Q.   Please -- please do.    Thank you.

8          A.   So the ways that you can upload video to

9     the platform were directly on the profile, directly

10    on the page.                                              12:58:58

11              Today, for example, if you went to

12    Facebook, you could -- you don't have to go to a

13    profile or a page to upload video.     You could

14    upload it from, say, newsfeed directly.       You could

15    record from newsfeed.                                     12:59:24

16              There -- other things that I'm aware of

17    today are some Facebook tools that give those who

18    want to produce, or those who want to upload video,

19    the ability to do that.

20              Today some of those are called, Meta --         12:59:48

21    Meta Business Suite, Creator Studio.

22         Q.   Anything else that you can think of?

23         A.   The other thing that I can think of is

24    the -- the fact that you can live stream on -- on

25    Facebook, and you can do these things from, say,          01:00:19

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1     the app, the mobile app, or from the desktop.             01:00:24

2                So as an example, most of the things I

3     mentioned have a desktop version and an app

4     version.

5          Q.    When did Facebook first make it possible       01:00:41

6     for users to upload videos using the newsfeed?

7          A.    I -- I don't recall when.

8          Q.    Can you give an approximate year or -- or

9     years?

10         A.    No.     I -- I would be speculating.           01:01:10

11         Q.    Okay.     Was it before 2015?

12         A.    Again, I -- I mean, I -- I know it's live

13    today and -- and I don't know.       I -- you know,

14    sitting here today, I -- I don't.

15         Q.    Okay.     And you mentioned that Facebook      01:01:39

16    enables users to record videos from their newsfeed,

17    correct?

18         A.    Right.

19         Q.    When was that functionality first

20    enabled, if you know?                                     01:01:54

21         A.    No.     Similar to the upload of the -- of

22    the file itself, I -- I can't say exactly when the

23    live -- or when the -- when the -- you know, on

24    platform record.

25               What I can say is that -- and I can -- I       01:02:15

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1     can talk about different parts of -- I -- I can            01:02:19

2     talk about, say, when you could go live on

3     Facebook.     But regarding the feed, I -- I don't

4     recall exactly when.

5             Q.   Fair enough.     I'm just trying to be        01:02:31

6     exhaustive here.

7                  Do you know when the newsfeed was first

8     introduced?

9             A.   I recall newsfeed being introduced in

10    2006.                                                      01:02:46

11            Q.   Okay.   You mentioned Facebook tools that

12    give people the ability to upload video to the

13    Facebook Platform, right?

14            A.   Yeah, I mentioned.

15            Q.   What, generally, is a Facebook tool?          01:03:08

16                 MR. SCHWING:     It's vague.

17                 You can answer, if you know, if you can.

18                 THE DEPONENT:     The way I think of tools

19    would be an ability to perform a function or an

20    action on the Facebook Platform.                           01:03:27

21            Q.   (By Mr. Gould)     And is it -- let's focus

22    on -- on the two specific tools you mentioned; the

23    Meta Business Suite -- Suite and the

24    Creator Studio.

25                 What functionality does the Meta              01:03:54

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1     Business Suite enable, insofar as uploading videos        01:03:57

2     is concerned?

3          A.     So an example would be accessing the --

4     the video file, uploading it to Facebook's

5     platform.    That's, you know, a very standard upload     01:04:19

6     process.

7          Q.     And the Meta Business Suite is designed

8     to make that process seamless for the business

9     that's using it?

10         A.     For the user or entity that's using it,       01:04:38

11    the -- the goal is to make it easy to do that.

12         Q.     You mentioned Creator Studio.

13                What does the Creator Studio enable users

14    to do?

15         A.     Similar -- regarding video, similar           01:05:03

16    ability to upload.

17         Q.     And, again, it's designed to make that

18    uploading process easy?

19         A.     Yeah.

20         Q.     Okay.   Does the Meta Business Suite give     01:05:19

21    the user the ability to record videos as well?

22         A.     So in -- in the preparation that I did,

23    around the -- the changes that -- that Facebook

24    made to allow users to share and interact with

25    video, I -- I focused most of my preparation on           01:05:47

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1     what -- what general users can do.        And, you know,   01:05:50

2     as -- as opposed to the professional tools that

3     you're mentioning.

4             Q.   Okay.   Is Creator Studio one of the

5     professional stu- -- tools?                                01:06:02

6                  Okay.

7             A.   Yeah, I -- I would think of it that way.

8             Q.   Okay.   I'm just going to ask just to

9     be -- just to see if you know.

10                 Does Creator Studio enable the user to        01:06:15

11    record video content?

12            A.   I -- I couldn't say for sure.

13            Q.   Fair enough.

14                 Forgive me if I already asked you this.

15                 When were those two tools created, if you     01:06:42

16    know?

17            A.   I don't remember when those two tools

18    were created.

19            Q.   Were those two tools created before 2017,

20    do you think?                                              01:06:55

21            A.   So in the preparation that I did to allow

22    for users to share and -- and -- and view and

23    interact with video on Facebook, I didn't focus my

24    preparation on the professional tools.

25            Q.   Okay.   Fair enough.                          01:07:15

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1                  Once a video is uploaded to the              01:07:26

2     Facebook Platform by a user, currently, what are

3     some of the ways in which other users can interact

4     with or share that content?

5          A.      So let me start with the fact that           01:07:54

6     there's a video file that's on the

7     Facebook Platform, and I think the first thing that

8     you asked was, how could users interact with that.

9                  So let me -- let me -- let me take that

10    one first.                                                01:08:14

11         Q.      Okay.

12         A.      Facebook Platform has various -- we call

13    them surfaces -- but parts of the Facebook Platform

14    where users can even see that a video post exists.

15    I can -- I can give you some examples, like               01:08:37

16    newsfeed itself.

17                 When a user comes to newsfeed, Facebook

18    could recommend a post that -- that really is a

19    video.    And that would be one example.

20         Q.      So that's super helpful because what I --    01:08:57

21    what I could then -- what I think I want to ask you

22    then is, what are the surfaces where a user can

23    access video content uploaded by somebody else to

24    the Facebook Platform?

25         A.      Got it.                                      01:09:23

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1                 MR. SCHWING:     Vague -- vague as to time.        01:09:27

2                 MR. GOULD:     Sure.

3                 MR. SCHWING:     I'm trying to be actually

4     kind of helpful here, Ben.         I don't know if you --

5                 MR. GOULD:     Yeah.    No.   No.   You -- thank   01:09:35

6     you.    Thank you.

7                 MR. SCHWING:     Now versus when -- some

8     other time.

9                 MR. GOULD:     Sure.

10                MR. SCHWING:     But do you want to know           01:09:39

11    now?

12           Q.   (By Mr. Gould)     Currently, where are

13    the -- what are the surfaces where users can access

14    video content uploaded by another user?

15           A.   Got it.                                            01:09:50

16                So I mentioned newsfeed.        And there's a

17    tab which is just video only.         That's another

18    surface.

19           Q.   Can I stop you there?

20           A.   Sure.                                              01:10:08

21           Q.   Is that a tab on newsfeed?

22           A.   It's a tab on the platform itself.

23           Q.   Okay.

24           A.   So I think of newsfeed as a tab, and I

25    think of a separate tab, yeah.                                 01:10:17

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1             Q.      Okay.   Sorry for interrupting you.            01:10:19

2     Please go on.

3             A.      No, no worries.

4             Q.      If you want me to repeat the question,

5     I'm happy to, by the way.                                      01:10:27

6             A.      Oh, no, I -- I remember.

7             Q.      Okay.

8             A.      A user can search for a video.         So I

9     would say -- I would say that that -- that's part

10    of the ways that a user can access video.                      01:10:40

11                    A user could go to someone's profile,

12    if -- if the -- if -- video.            A user could go to a

13    page.        Page can also share or post a video file.

14                    A user could receive a video file from

15    someone else in a Messenger conversation.                      01:11:13

16            Q.      Any other surfaces you can think of?

17            A.      I'm thinking.

18            Q.      Oh, sure.   Go ahead.

19            A.      Another surface I can think of is

20    something we call stories.           So when -- when the       01:11:34

21    user is in their newsfeed, sometimes there's a

22    horizontal scroll or tray of -- like I said,

23    these are -- these are posts that -- that will

24    expire.        Some of them are video.

25                    And a user could go to groups on               01:12:00

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1     Facebook.    They -- you're part of a group.             You can   01:12:09

2     upload a video to a group and say a group member

3     can also see video there.

4                 And --

5          Q.     Yeah.                                                  01:12:28

6          A.     -- and sit -- sitting here today, that --

7     that's all I recall.

8          Q.     When did Facebook first enable users to

9     search for videos?

10         A.     I -- I believe that video search came                  01:12:42

11    about -- let me think -- sometime in 2016.

12         Q.     Was there a search function that Facebook

13    had before 2016?

14         A.     If -- if it wasn't involved -- I mean, as

15    far as what I prepared on the topic of video, my --                01:13:17

16    in my education and -- and in my prep, I do recall

17    learning about the -- the ability to search for

18    video on 2016.       I think it's fair to assume that

19    search existed.       But I -- I couldn't say because it

20    would go before the research that I conducted.                     01:13:44

21         Q.     And you spoke of a video tab; is that --

22    am I remembering correctly?

23         A.     Right.     I mentioned a video tab.

24         Q.     When was the video tab introduced to the

25    Facebook Platform?                                                 01:13:58

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1             A.      The video tab launched in 2016.                  01:14:02

2             Q.      20- -- I'm sorry.   Say that again.        I

3     apologize.

4             A.      2016.

5             Q.      Okay.   When -- sorry.                           01:14:14

6                     Is it fair to say that users were first

7     able to upload videos to their profile in 2006?

8             A.      I think that what we said was -- or what

9     you and I talked about was, in 2006, you could post

10    a link to a video.         And in 2007, you could -- you         01:14:41

11    could -- you could share a video file.

12            Q.      In 2007, could you upload a video to your

13    profile on Facebook?

14            A.      I think that -- I mean, it depends on how

15    you define "profile."                                            01:15:10

16                    So as an example, are you -- are you

17    saying that as an owner of a profile, you post

18    like, hey, here's a -- here's a great video I saw.

19            Q.      Exactly.

20                    When was that first enabled?                     01:15:30

21            A.      Well, yeah.   So I would say that that is

22    the -- the 2007 launch I talked about.            So -- so,

23    you know, feed existed.         But it could be shown in

24    feed.        You could see it in the profile.       But really

25    it's -- it's the profile that's sharing the video                01:15:51

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1     at that time.                                               01:15:54

2          Q.     Understood.

3                 When did Facebook first enable users to

4     send and receive video files via

5     Facebook Messenger?                                         01:16:08

6          A.     So Messenger video files or -- or links

7     to videos, I recall came out in 2008.

8          Q.     You -- I don't want -- I'm not trying to

9     be difficult.       I -- you talked about two different

10    things.    You talked about video files and you             01:16:36

11    talked about links to videos.

12                Are you saying that in 2008, that was

13    when Messenger enabled users to send and receive

14    both video files and links to videos?

15         A.     So I -- no, I don't -- I don't think that       01:16:55

16    you're being difficult.

17                I -- definitely links.       And for files

18    themselves, if it didn't happen then, it would have

19    been around that time.

20         Q.     Okay.     When did Facebook introduce           01:17:09

21    stories?

22         A.     Stories came out in 2017.

23         Q.     And from the beginning, was it the case

24    that stories could include videos?         Video content?

25         A.     If stories didn't include video content         01:17:38

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1     at its launch, it would have been not too long            01:17:41

2     after that.

3          Q.     When did Facebook first enable users to

4     create groups?

5          A.     Groups with video or groups without           01:18:02

6     video?

7          Q.     Just to give a picture of the timeline,

8     let's say just groups without video.

9                 MR. SCHWING:     It's outside the scope.

10                If you know, go ahead.                        01:18:16

11                THE DEPONENT:     So -- but I -- I think I

12    get what you're asking, Ben.

13                And so based on the preparation I did,

14    groups video started in 2010.

15         Q.     (By Mr. Gould)     Okay.    Great.            01:18:33

16                So currently, Facebook enables users to

17    access video content on multiple different

18    surfaces, correct?

19         A.     That's correct.

20         Q.     Okay.   Is it Facebook's intention to make    01:19:03

21    it easy for viewers to access video content on the

22    platform?

23         A.     What -- what I'll say is -- or -- or the

24    way I think about it is Facebook makes it easy to

25    access almost any kind of content that a user wants       01:19:23

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1     to share on the platform.                                   01:19:27

2                  And I think we -- we think of the -- the

3     content as video and/or photos and/or text and/or

4     links.     And we want to make everything, including

5     video, easy to access.                                      01:19:47

6          Q.      We talked about multiple different

7     surfaces to test video content, right?

8          A.      Right.

9          Q.      Okay.    Currently, do all of those

10    surfaces provide the same ways for users to                 01:20:23

11    interact or share that video content?

12         A.      So if you mean -- or let's talk about

13    sharing.     If you mean sharing and the existence of

14    a share button, very -- very similar -- sure --

15    across all -- across all the surfaces we talked             01:20:46

16    about.

17                 And then what else were you asking?

18         Q.      Interacting with.

19                 So if I use the term "reaction," do you

20    know what I'm referring to?                                 01:21:01

21                 MR. SCHWING:     Vague.

22                 THE DEPONENT:     I do.

23                 MR. SCHWING:     And potentially calls for

24    speculation.     I mean...

25         Q.      (By Mr. Gould)     And in the context of the   01:21:12

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1     Facebook Platform, you know, if I'm using the             01:21:13

2     term -- or excuse me.

3                  In the context of the Facebook Platform,

4     what does the term "reaction" refer to?

5             A.   So specifically in the preparation that I    01:21:24

6     did for how users can interact, a reaction would be

7     the ability to go to the video post that's been

8     shared and click a button where you could like or

9     have a few other reactions to that video post.

10            Q.   When did Facebook first enable users to      01:22:02

11    like uploaded video content?

12            A.   Users could first upload -- sorry.

13                 Users could first like video content in

14    2009.

15            Q.   Okay.    You mentioned there are currently   01:22:31

16    reactions other than liking, correct?

17            A.   Right.

18            Q.   Do you have any sense of when those other

19    reactions were introduced to the Facebook Platform?

20            A.   Other reactions besides like came out in     01:22:55

21    2016.

22            Q.   And I don't think I've asked this

23    question, but you referred to a share button where

24    you -- I think -- where -- where users could click

25    it and share a video with some other user; is that        01:23:26

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1     correct?                                                   01:23:29

2            A.   Right.

3            Q.   Okay.    When was that share button

4     introduced for uploaded videos?

5            A.   Share came out in 2012.                        01:23:45

6            Q.   What are the video formats that Facebook

7     currently allows users to upload?

8            A.   So Facebook allows users to upload most

9     video formats, I think the most popular of which

10    would be .MP4 files.       Movie files.                    01:24:21

11                I -- it's the -- it's the common video

12    files that I think we all know of and think of when

13    it comes to movie files.

14           Q.   Let -- let me then ask the question this

15    way.                                                       01:24:51

16                Can you think of a commonly used format

17    for video content that Facebook does not enable

18    users to upload to the platform currently?

19                MR. SCHWING:     That's vague.

20                THE DEPONENT:     I -- it would be hard for    01:25:11

21    me to think of a commonly used video format that

22    Facebook doesn't allow for upload.

23           Q.   (By Mr. Gould)     Okay.    Are you familiar

24    with -- sorry.

25                Was it the case that over the years            01:25:39

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1     Facebook has increased the number of and kind of          01:25:42

2     video content formats it enables users to upload to

3     the platform?

4                  MR. SCHWING:     Compound and vague.

5                  THE DEPONENT:     For -- I mean -- sorry.    01:26:01

6     Can you...

7          Q.      (By Mr. Gould)     Yeah.    Sure.

8                  Has -- over -- over the years -- you know

9     what, let me be more specific.

10                 Since 2007 --                                01:26:11

11         A.      Okay.

12         Q.      -- has Facebook increased the number of

13    video content formats it enables users to upload?

14         A.      Here's -- here's how I think about that.

15                 If -- if there wasn't a video format in      01:26:29

16    2007, that came out later, then -- and -- and it

17    was not known to the -- say, to the -- the user

18    community, or wasn't used by the user community but

19    came out later, it's very likely that Facebook

20    would make it available for upload.                       01:26:55

21         Q.      So in other words, Facebook made an

22    effort to make -- to enable users to upload

23    commonly used video formats as soon as possible

24    after those formats came into common use?

25                 MR. SCHWING:     Vague.                      01:27:20

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1                THE DEPONENT:    Yeah.   It -- it's hard for   01:27:20

2     me to -- to qualify what "as soon as possible"

3     means.   But what -- you know, based on my

4     preparation, where -- and -- and based on what is

5     it that Facebook Platform wants to do about video,        01:27:35

6     so really it's -- it's about, okay, what -- what

7     types of -- how do we allow users to have a good

8     experience on the platform.     And before video, we

9     talked about, say, photos.

10               After video became a more commonly used        01:28:02

11    and -- and more, say, accessible way of

12    expressing -- in service of a good user experience,

13    if there were video that was commonly used by what

14    I would call the -- the general user base of

15    Facebook, sure.                                           01:28:38

16               I mean, that would be -- that would --

17    that would be something that would improve the user

18    experience because that's all that our sharing

19    platform is trying to do.

20               If it's -- if it's a video file that you       01:28:52

21    have and you feel that it's important for you to

22    share it with others, I think it's in the best

23    interests of the user experience and the user --

24    and users, in general, to allow for the user to be

25    able to share it on the platform.                         01:29:12

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1          Q.      (By Mr. Gould)     So let me know if I'm          01:29:15

2     charac- -- characterizing your -- your testimony

3     correctly.

4                  When a video format became commonly used

5     by the general user base of Facebook, Facebook                 01:29:38

6     would make an effort to ensure that users could

7     upload video content in that format to the

8     Facebook Platform; is that a fair characterization

9     of at least part of your testimony?

10                 MR. SCHWING:     Vague.                           01:30:02

11                 THE DEPONENT:     Say -- try -- try me one

12    more time on that question.

13         Q.      (By Mr. Gould)     Yeah, of course.          Of

14    course.

15                 Tell me whether you think the following           01:30:07

16    is correct:     Once a video format became commonly

17    used by the general user base of Facebook, Facebook

18    would make an effort to ensure that users could

19    upload video content in that format to the

20    Facebook Platform.                                             01:30:28

21         A.      I --

22                 MR. SCHWING:     I'm sorry.    Just for

23    clarity, you're asking if that's his previous

24    testimony or you're asking if he agrees --

25                 (Simultaneously speaking.)                        01:30:38

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1                  MR. GOULD:     I'm just asking whether you        01:30:39

2     would -- whether what I just said is accurate.

3                  MR. SCHWING:     Okay.     Thank you.

4                  THE DEPONENT:     I -- I wouldn't let --

5     let me -- sorry.     Let -- I wouldn't say that was            01:30:46

6     accurate, only -- only because I'm not an expert

7     in, say, how movie theaters work.           I don't know how

8     other video files -- you know, what we define as

9     commonly used.

10                 Say, for example, there are some                  01:31:08

11    sophisticated -- say, for example, a movie theater

12    is using some -- I don't know -- pla- -- some

13    plastic film or some other digital -- you know,

14    that's -- Mr. Gould, you could say that that's

15    popular because a lot of people go to the movies.              01:31:30

16    But that wouldn't be something that our -- that the

17    Facebook Platform would be rushing to be compatible

18    with.

19                 So I -- I just -- I didn't want -- I -- I

20    felt that -- I felt that your statement was a                  01:31:50

21    little broad.

22            Q.   (By Mr. Gould)     Sure.

23                 So by commonly used by the general user

24    base of Facebook, I am excluding video formats that

25    are used -- even commonly used by video content                01:32:05

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1     professionals, if they are not commonly used by           01:32:16

2     others.

3               Under that definition of commonly used

4     video formats by the general user base of Facebook,

5     is it accurate to say that once a video format that       01:32:34

6     is commonly used by the general user base of

7     Facebook becomes commonly used by the general user

8     base of Facebook, Facebook has made an effort to

9     ensure that users can upload videos in that format

10    to the Facebook Platform?                                 01:33:00

11              MR. SCHWING:     The question is vague.

12              THE DEPONENT:     I -- I -- here -- here's

13    how I would -- I would put it.      Because I didn't --

14    I don't want to -- I don't want to make a statement

15    that -- that -- that -- of course that's not true.        01:33:14

16              And so for example, users who are --

17    users who are avidly using some other -- I didn't

18    want to make that professional or that, you know,

19    amateur distinction.     And I can imagine amateurs

20    are -- are -- there are still amateurs that are           01:33:41

21    showing video off of plastic film.       And that's not

22    something that the Facebook Platform is investing

23    in, like uploading or converting and --

24         Q.   (By Mr. Gould)     By plastic film --

25         A.   Like --                                         01:33:58

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1          Q.     You mean -- yeah.                              01:33:59

2                 (Simultaneously speaking.)

3                 MR. SCHWING:     Let him finish.

4                 THE DEPONENT:     Like -- so the way I would

5     characterize it, Mr. Gould, is video on the                01:34:04

6     Facebook Platform is really just another means of

7     expression or entertainment and -- and so on and so

8     forth.

9                 So imagine when, say, a new consumer

10    device came out and became popular -- maybe we             01:34:28

11    could talk about the iPhone for an example -- for

12    instance.    And I don't remember how popular video

13    files from iPhone -- or the format that was used

14    before and after iPhone.

15                But if there was a change in the way           01:34:50

16    that -- the way that consumers could access either

17    technology or -- or make digital video files in

18    service of -- get -- allowing users to share that

19    with, you know, whomever they want as part of what

20    the mission of the Facebook Platform is, we would          01:35:21

21    put effort into making that easy or seamless or

22    frictionless.

23         Q.     (By Mr. Gould)     Okay.

24         A.     So I felt that your other statement was a

25    little broad, and I felt more comfortable with             01:35:41

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1     saying what I just told you.                                 01:35:45

2          Q.   Okay.    What changes to its infrastructure

3     has Facebook made since 2007 to facilitate the

4     uploading and sharing of video content?

5               MR. SCHWING:     The question is vague.            01:36:18

6               THE DEPONENT:     I -- I understand -- I

7     think I understand what you're asking.

8               And the way I think about it is from the

9     time that Facebook allowed for video on the

10    platform, let's -- let's say maybe 2007.         And I       01:36:36

11    think you're asking me from -- are you asking me

12    from 2007 through today infrastructure changes that

13    have -- and then I'll let -- is that what you're

14    asking me and --

15         Q.   (By Mr. Gould)     Right.     Right.   So let me   01:36:52

16    then rephrase.

17         A.   Right.

18         Q.   I'm asking about infrastructure changes

19    from 2007 to the present that have been made in

20    order to facilitate access to --                             01:37:05

21         A.   Right.

22         Q.   -- uploading or sharing of video content.

23              Is that a subject you're prepared to --

24    to talk about?

25              MR. SCHWING:     I guess --                        01:37:25

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1               THE DEPONENT:     Without getting into too      01:37:27

2     much detail about the -- the changes themselves,

3     here's what I am prepared to talk about.

4               If you just look at the amount of

5     video -- or maybe in this case we'll call it              01:37:43

6     digital video, right, as opposed to video that we

7     were discussing -- like nondigital video that we

8     were discussing.

9               But if you think about the number of

10    users on Facebook, and if you think about whether         01:37:55

11    or not video was popular -- and, obviously, I think

12    it's fair to say that video has become a more

13    popular medium over time.

14              And if you were to compare users'

15    appetite for sharing video, you know, producing --        01:38:14

16    making video and watching video, and if you were to

17    think about the growing popularity of video as a

18    medium and also think about the user increase, in

19    order to successfully allow users to upload video

20    and -- and -- and interact with video and watch           01:38:43

21    video on the platform, what I can tell you is

22    infrastructure improvements had to take place,

23    you know, at a high level.

24              And I'm not prepared to talk about the --

25    the technical -- I mean, if -- if I think about the       01:39:05

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1     topic that I'm prepared to talk about, the changes           01:39:11

2     that we made to allow for the ways that users

3     interact with video, of course, we want users to

4     have a successful experience.

5               So what does that mean.       It means, it         01:39:25

6     doesn't -- the upload doesn't fail or the playback

7     doesn't fail.

8               So at a high level, I can only say

9     that -- a quality experience, a good user

10    experience like that is important to Facebook.         So    01:39:44

11    infrastructure improvements to allow for a larger

12    number of video files being uploaded and played

13    had to have -- had to have taken place.         And -- and

14    that's really the depth of the infrastructure

15    preparation that I did.                                      01:40:01

16         Q.   (By Mr. Gould)     Okay.    So in order to not

17    waste your time, are you prepared to talk, at a

18    high level, about the kind -- general kinds of

19    infrastructure changes that have been made in order

20    to facilitate the access to uploading of and                 01:40:18

21    sharing of video content?

22              MR. SCHWING:     We haven't -- just to be

23    clear, we haven't designated Mr. Miller to talk

24    about like technical infrastructure.

25              MR. GOULD:     Okay.                               01:40:34

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1                 MR. SCHWING:     But, you know, storage or    01:40:35

2     showing video, that's not something we understood

3     that you --

4                 MR. GOULD:     Okay.

5                 MR. SCHWING:     -- you intended to ask       01:40:42

6     about.    And that's not part of topic 9c, as we've

7     understood it.

8                 Mr. Miller is focused on -- on the

9     actions taken, decisions made that would allow

10    people to kind of interact, like on surfaces that         01:40:55

11    he's been discussing.

12                So I hope that -- that helps to clarify.

13    He's not going to be able to talk about like the

14    servers and the server system and that kind of

15    thing.                                                    01:41:05

16         Q.     (By Mr. Gould)     If I were to ask you,

17    you know, Mr. Miller, since 2007, what are the

18    major investments that Facebook has made,

19    generally, in order to facilitate user access to

20    and sharing of and uploading of video content, is         01:41:26

21    that, at a high level, a question that you're

22    prepared to answer?

23         A.     I would say that the -- the lowest level

24    that I could answer is improvements in storage, in

25    coding and playback.       And not -- I'm not prepared    01:41:52

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1     to talk -- I think that that would be the                   01:42:03

2     high-level answer to your original question.

3               But regarding the specifics under those

4     high-level areas, I didn't find that as relevant to

5     my topic and the research that I did.                       01:42:20

6          Q.   Okay.    What improvements since 2007 --

7     major improvements since 2007 have been made in

8     order to facilitate access to sharing of and

9     uploading of video content?

10         A.   I can give examples of the way that we            01:42:52

11    recommend or rank video as a -- as basically a -- a

12    bucket of improvements that we've made.

13         Q.   What -- okay.    Well, then -- let me then

14    be more specific and we'll talk about maybe kinds

15    of improvements.                                            01:43:17

16         A.   Okay.

17         Q.   That might focus our discussion.

18              One of those kinds that you mentioned

19    earlier was improvements in storage.

20              Since 2007, what are the major, at a high         01:43:26

21    level, improvements that Facebook has made in order

22    to facilitate access to sharing of, uploading of

23    video content?

24         A.   Oh, you -- I'm confused.      You mentioned

25    storage, and then you mentioned my topic.        But help   01:43:49

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1     me understand the tie between the two.                          01:43:52

2          Q.     Oh, sorry.     I -- I -- sorry.       One second.

3     I just want to -- I -- I -- because I want to make

4     sure I understood what you are and are not prepared

5     to talk about.                                                  01:44:13

6                 I -- I thought you said you -- you can

7     answer questions regarding improvements in storage,

8     in coding and in playback.

9                 Am I right about that?

10         A.     I don't think that that's what I said.              01:44:30

11         Q.     Oh, okay.

12         A.     Do -- I could restate, or maybe we can

13    restate what I had said --

14         Q.     Yeah.

15         A.     -- or maybe clear it up --                          01:44:42

16         Q.     I mean -- well, hm.

17                MR. SCHWING:     May be useful to take a

18    break.    We're at about an hour and maybe we could

19    give some clarify.

20                MR. GOULD:     Okay.     Let's take a short         01:44:56

21    break.

22                Could -- could we make it a five-minute

23    break and be sure to be back here at -- at 1:50?

24                MR. SCHWING:     Sure.

25                MR. GOULD:     Okay.     Thank you.                 01:45:07

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1                THE VIDEOGRAPHER:     Okay.    We're off the   01:45:08

2     record.   It's 1:45 p.m.

3                (Recess taken.)

4                THE VIDEOGRAPHER:     We're back on the

5     record.   It's 2:03 p.m.                                  02:03:10

6          Q.    (By Mr. Gould)     Thanks, Mr. Miller.

7                I'm -- I'm going to ask a broad question

8     and, you know, you can answer it however you can

9     answer it, and then we can go from there.

10               What are the major actions taken by            02:03:32

11    Facebook, since 2007, in order to facilitate user

12    access to uploaded video content on the platform?

13         A.    At a high level, Facebook increased the

14    number of services.   So we talked about that,

15    the -- the ways on Facebook app users can access --       02:04:02

16    or where on Facebook app users can access video.

17    And also improvements in how we ranked video for

18    users.

19         Q.    We'll talk a little bit more about

20    improvements and how you ranked video.                    02:04:24

21               Are you talking about improvements in how

22    video was ranked on a user's newsfeed?

23         A.    Yes.

24         Q.    Yeah.

25               Anything -- anything else that goes under      02:04:34

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1     the heading of improvements and ranking?                  02:04:35

2          A.   I -- sorry.     Ranking on newsfeed or

3     ranking on the other services we talked about?

4          Q.   That's -- yeah.     I mean, that's precisely

5     what I'm wondering, is like, when you said, how we        02:04:51

6     rank video -- when you said that phrase, did you

7     mean something other than -- or something besides

8     how video is ranked on newsfeed?

9          A.   That is -- so I'm prepared to talk about

10    how video is ranked on, say, newsfeed and also,           02:05:19

11    say, the video tab.

12              MR. GOULD:     Fabulous.    Okay.

13              MR. SCHWING:     Can I -- can I interrupt

14    for just one second.

15              (Discussion off the stenographic record.)       02:05:40

16         Q.   (By Mr. Gould)     What were the

17    improvements in the video ranking for the newsfeed

18    designed to do?

19         A.   Ranking improvements on newsfeed were

20    designed to give users a better experience.               02:06:32

21         Q.   And when we're talking about improvements

22    in ranking, are we talking about like a series of

23    improvements or like one big upgrade?

24         A.   More of a series of improvements.

25         Q.   Okay.   Are you prepared to talk about,         02:06:55

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1     like at a high level, the major decisions or              02:06:56

2     changes that were part of that series?

3          A.     At a high level, that was part of the

4     prep that I did.

5          Q.     Fabulous.   Great.                            02:07:13

6                 When did the -- these improvements to

7     ranking on a newsfeed start to be made?

8          A.     We can say that one of the more important

9     changes to newsfeed's ranking happened in 2011.

10         Q.     And what change was that?                     02:07:43

11         A.     And in that year, newsfeed ranking

12    changed from being chronological to being

13    recommendation-based.

14         Q.     And how did the platform come up with

15    these recommendations -- that's a broad question.         02:08:10

16                So let's start out with, what information

17    did the platform consider in order to make these

18    recommendations?

19         A.     So in 2011 or in general?

20         Q.     In -- in 2011, what were the improvements     02:08:27

21    to what -- or -- yeah.     What did it begin to

22    consider?

23         A.     There were many changes and things that

24    the -- that the newsfeed would consider would be a

25    variety of things that it understood about the --         02:08:49

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1     the content or the video itself, a variety of                     02:08:58

2     things that it understood about what the user would

3     be interested in.      Those types of things.

4          Q.    And it's fair to say that the

5     consideration of these items you just mentioned was               02:09:23

6     done by machine, not by actual human beings,

7     correct?

8          A.    For the vast majority of these ranking

9     changes, they were done by machine learning.

10         Q.    How would -- how would the platform                    02:09:55

11    determine what the content of a video itself was?

12         A.    So in general -- and if you're okay with

13    a general answer to that --

14         Q.    Please.

15         A.    -- ways that a platform can figure out                 02:10:16

16    what a video is about or what -- what was the --

17    the word you used?

18         Q.    The content of the video.

19         A.    The content -- the subject of the

20    content?                                                          02:10:32

21               I -- I might have misheard you.

22         Q.    Yeah.     No, like -- like -- yeah.           What's

23    the video about.      Sure.   Yeah.

24         A.    Okay.     Here's an example -- I'll use dogs

25    as an example, right.                                             02:10:49

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1                     There's a video about my dogs.       A      02:10:50

2     couple -- a couple of things that the platform

3     did -- and, you know, this would be improved over

4     time.        It's -- it's still something that -- there's

5     always room for improvement.                                02:11:04

6                     But some examples of -- of things that

7     the platform did would be, say, look at the text in

8     the title.        Look at the description of the video.

9     "Great dogs."        Look at say, comments on the video.

10                    Those are some straightforward examples     02:11:29

11    where the platform would understand what the video

12    was about.        And other examples would be some

13    content is -- there are models, like I'll make up

14    the dog thing.

15                    Here's a bunch of videos that are about     02:11:52

16    dogs.        Hey, model, please -- please take a look at

17    what you find.        Find similarities in the video

18    content so that the next time you see a video about

19    dogs, the model would predict, oh, yeah, I think

20    that video is about dogs.                                   02:12:13

21                    And so those are the general -- that's

22    the general gist of how content-understanding

23    models work.

24            Q.      All right.   When -- in 2007, when the

25    video uploads first began in the platform, were             02:12:36

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1     users able to give uploaded videos titles?                02:12:42

2             A.   When you -- when a user would post a

3     video, you -- you can say almost anything in that

4     post.

5                  So if you say, "Here's my video about        02:12:59

6     dogs," you could -- I mean, that, in a way, could

7     be the title.       It's -- it's what you've said in

8     your post and the post comes with the dog video.

9             Q.   So in other words, from the very

10    beginning of Facebook enabling the upload of              02:13:13

11    videos, Facebook enabled the uploader to associate

12    or attach text to the video?

13            A.   Yes.

14            Q.   And that hasn't changed, right?

15            A.   Correct.                                     02:13:37

16            Q.   Since 2007, what are the major actions

17    that Facebook has taken to facilitate -- sorry.

18                 We just -- we just talked very generally

19    about actions that Facebook had taken since 200- --

20    major actions that Facebook had taken since 2007 to       02:14:19

21    facilitate user access to -- to videos -- to video

22    content.

23                 I -- I now want to talk about like the

24    sharing of that content.

25                 So what are the major actions that           02:14:33

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1     Facebook has taken, since 2007, to facilitate the                  02:14:38

2     sharing of uploaded video content?

3             A.   A very straightforward example of that

4     would be the -- the launch of sharing in 2012.                So

5     there's a share button.          That's what I was                 02:15:06

6     referring to as sharing.

7             Q.   From the beginning of -- sorry.           Yes.

8                  From the beginning of when Facebook

9     enabled users to upload video to the platform, it

10    also enabled comments on those videos, correct?                    02:15:33

11            A.   I think we said that comments came in

12    2010.

13            Q.   Got it.     Okay.    Thank you.

14                 And there have been comments on videos

15    then ever since 2010, right?                                       02:15:52

16            A.   If a user commented, yes.

17            Q.   When was the -- I'm sorry if I've already

18    asked you this.

19                 But when was the like of an uploaded

20    video first introduced?                                            02:16:16

21            A.   No worries.

22                 Like came out in 2009.

23            Q.   Okay.     Are there -- currently, are there

24    any user interactions with uploaded video content

25    that like are specific to uploaded video content?                  02:16:42

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1                  And if I need to explain that question,      02:16:49

2     to make it clear, I'm happy to do so.

3             A.   Yeah.

4             Q.   Okay.

5             A.   That will help.                              02:16:56

6             Q.   Sure.

7                  Let's step back for a -- for a bit.

8                  You'd agree, I guess, that like there are

9     many different kinds of posts a Facebook user can

10    make to the Facebook Platform, correct?                   02:17:11

11            A.   Correct.

12            Q.   One kind of post would be a video --

13    excuse me -- a photo, right?

14            A.   Right.

15            Q.   Another would be just like text, right?      02:17:24

16            A.   Yes.

17            Q.   Would a status update also be a kind of

18    post?

19            A.   You can think of it that way, though, I

20    should just let you know that that's not related to       02:17:44

21    video.

22            Q.   Sure.

23                 Another kind of post would be the user's

24    uploading of a video to the platform, right?

25            A.   Agree.                                       02:18:01

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1             Q.   Okay.   So users can interact with posts       02:18:01

2     in multiple different ways, correct?

3             A.   Correct.

4             Q.   Okay.   Were any of those ways unique to

5     video content?                                              02:18:22

6             A.   I -- I understand what you were asking.

7                  The answer is yes.

8             Q.   And what are those ways?

9             A.   Some examples would be mute.       Unmute,

10    right.                                                      02:18:43

11                 Is that --

12                 (Simultaneously speaking.)

13            Q.   (By Mr. Gould)    Sure.

14            A.   -- what you're asking?

15            Q.   Yeah, totally.                                 02:18:48

16                 Anything else?

17            A.   Full screen, right.       Change the volume.

18                 I think that those are good examples.

19            Q.   I assume play and pause also?

20            A.   Yes.                                           02:19:16

21            Q.   Any other interactions that you can think

22    of --

23            A.   Yeah.

24            Q.   -- that are unique to video content?

25            A.   Sitting here today, you can save a video.      02:19:31

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1     I -- I don't know if that's unique, though.               So   02:19:35

2     maybe -- maybe I wouldn't say that that's unique.

3                  You can -- I'm just trying to think here.

4                  An example of a comment, say, on a live

5     video, would be -- could be time-stamped; is                   02:20:02

6     that -- that -- that's an interaction that is

7     slightly different from --

8             Q.   Sure.

9             A.   -- say, a static post.

10                 Let me think if I can think of other              02:20:20

11    ones.

12            Q.   Sure.   Take your time.

13            A.   An inter- -- another interaction that

14    might be different for video than, say, the other

15    ones, would be the time you spend watching it.                 02:20:31

16            Q.   That is something that Facebook tracks,

17    in other words?

18            A.   Yes.

19            Q.   Okay.   If I were to speak of Facebook's

20    user interface for uploaded videos, would you know             02:21:12

21    what I meant?

22                 MR. SCHWING:     Calls for speculation.

23                 THE DEPONENT:     May- -- I might.

24            Q.   (By Mr. Gould)     Okay.

25            A.   I mean -- yeah.                                   02:21:23

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1          Q.      Okay.                                          02:21:24

2          A.      Let me know...

3          Q.      Okay.   Then let me ask it this way.

4          A.      Yeah.

5          Q.      Like, does Facebook have a user interface      02:21:29

6     that is specific to uploaded video content?

7          A.      I think I know what you're asking.

8          Q.      Okay.

9          A.      For example, a player -- a player could

10    be said to be unique to a video.         And it has, like   02:21:47

11    you said, a play or a pause button, and that

12    interface is different for, say, photos and text,

13    et cetera.

14         Q.      And Facebook has a proprietary video

15    player, correct?                                            02:22:08

16         A.      I -- what -- what do you mean by --

17         Q.      I -- I mean --

18         A.      -- video player?

19         Q.      -- it -- it uses Facebook-designed

20    software in order to play uploaded videos for users         02:22:24

21    who want to watch such videos.

22                 Correct?

23         A.      Yes.

24         Q.      When was that software first designed, if

25    you know?                                                   02:22:45

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1          A.      Well, video was first displayed on the              02:22:50

2     platform in 2006 with the -- the rendering of those

3     videos that were on the other websites.             And one

4     could say that would be the beginning of the

5     Facebook video player.                                           02:23:14

6          Q.      In 2007, when Facebook started to allow

7     users to upload video to the platform, other users

8     who wanted to access that video could play those

9     uploaded videos, right?

10         A.      Yes.                                                02:23:37

11         Q.      And the -- in 2007, the player used to

12    play those videos, was that a Facebook-designed

13    player?

14         A.      I -- I actually don't know.

15         Q.      Okay.     Okay.   Do you know whether -- or         02:23:52

16    excuse me.

17                 Do you know what, if any, major changes

18    have been made to the Facebook video player over

19    the years?

20         A.      Yeah, let me think for a moment.                    02:24:23

21                 I can't think of any big important

22    changes.     I mean, just to list off what we talked

23    about, you've got a video.         You can play it.        You

24    can pause it.        You can change the sound -- I'm

25    sorry -- you can adjust the volume.            You can -- in     02:24:59

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1     some cases, you can change where you want to go in        02:25:08

2     the video.

3           Q.     Right.

4           A.     That -- I'm speaking to the normal video

5     play technologies that I think everybody is used          02:25:21

6     to.   The difference or --

7                  (Discussion off the stenographic record.)

8                  THE DEPONENT:     Okay.

9           Q.     (By Mr. Gould)     Sorry, Mr. Miller.

10          A.     So -- okay.     Give me a second.            02:26:01

11          Q.     Sure.

12          A.     The -- the movement or where you want to

13    go in the video, sometimes we call that a scrubber

14    and -- oh, fast-forward.        Rewind.

15                 These things -- or move ahead                02:26:24

16    by ten seconds, these are -- these normal video

17    interactions -- these, what I would call typically

18    video player interactions, I -- I wouldn't be able

19    to say what that evolution was on the player

20    between day zero and today.                               02:26:45

21          Q.     Fair to say that over the years

22    improvements have been made to the Facebook video

23    player?

24          A.     Yes.

25          Q.     And the goal of those improvements is, I     02:26:59

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1     assume, to improve the user experience of those            02:27:06

2     videos, right?

3          A.     That is correct.

4          Q.     To make video play seamless with the rest

5     of the Facebook Platform, right?                           02:27:16

6                 MR. SCHWING:     Vague.

7                 THE DEPONENT:     Well, the way I'd phrase

8     it is to have an enjoyable video consumption

9     experience.

10         Q.     (By Mr. Gould)     You mentioned a scrubber,   02:27:35

11    correct?

12         A.     Right.

13         Q.     The -- a move ahead button, correct?

14         A.     Right.

15         Q.     I'll -- I'll -- I'll just list a few           02:27:49

16    others.

17                Move behind button.       Fast-forward.

18    Rewind.    You referenced those in -- in reference

19    to -- to uploaded video, correct?

20         A.     Yes.                                           02:28:01

21         Q.     All of those interactions that I just

22    listed are, I take it, unique to video content on

23    the Facebook Platform, as opposed to other kinds of

24    content, correct?

25         A.     Let -- yeah.     Let me -- let me think        02:28:15

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1     about that for one second.                                02:28:17

2                Those -- couple -- couple things.

3          Q.    Sure.

4          A.    So when I -- when I said skip ahead

5     ten seconds, when I said go back ten seconds,             02:28:31

6     that's what I meant by forward and rewind.

7          Q.    I get it.

8          A.    Yeah.

9                But, you know, that list that you

10    mentioned, those interactions are unique to video         02:28:43

11    content.

12         Q.    Okay.   You mentioned that Facebook tracks

13    time spent watching videos, right?

14         A.    That is correct.

15               MR. SCHWING:     Sorry.   It's outside the     02:29:16

16    scope of the deposition.

17         Q.    (By Mr. Gould)     When did it first begin

18    to do that?

19               MR. SCHWING:     It's outside the scope of

20    the deposition.                                           02:29:23

21               There's another witness that's been

22    designated to testify on that subject.

23               If you know, you can answer.

24               THE DEPONENT:     So I -- I would be

25    speculating as to when that started.                      02:29:42

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1                 As I sit here today -- or as I -- as I        02:29:48

2     understand the product today, I know we track it.

3     But it's -- that's not -- when we started tracking

4     metrics wasn't relevant, as far as I saw, to how we

5     allow users to --                                         02:30:06

6                 MR. GOULD:   No, I get it.

7                 THE DEPONENT:    Yeah.   Yeah.

8                 MR. GOULD:   So I just want to state this

9     for the -- for the record.      And, again, I don't

10    mean to be combative and this is not a criticism of       02:30:15

11    the witness.

12                When I asked Facebook's designee for

13    subtopic a, and subtopic b, whether there were

14    years in which time spent watching videos was

15    tracked, other than those shown on the                    02:30:41

16    spreadsheets, he was unable to answer that

17    question.

18         Q.     (By Mr. Gould)    The other thing I want to

19    ask about is the live stream videos on the

20    Facebook Platform.                                        02:31:01

21                When did Facebook first enable users

22    to -- and here I specifically mean users -- to live

23    stream video content on the Facebook platform?

24         A.     Users could live stream live video

25    content in 2016.                                          02:31:31

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1             Q.   When were third-party apps first enabled      02:31:39

2     to live stream video content on the

3     Facebook Platform?

4             A.   I -- I apologize.     I'm not the right

5     person to talk about third-party apps.                     02:31:56

6             Q.   Okay.   I'm going to go through a few of

7     the reactions we talked about in reference to

8     uploaded video.      And I want to see whether they --

9     they are also -- they -- they are also made

10    available for live streamed video.                         02:32:18

11                 Mute, unmute, I assume, it is also an

12    interaction that's made available for live stream

13    video, correct?

14            A.   Yes.

15            Q.   Same with full screen?                        02:32:30

16            A.   Yes.

17            Q.   Change volume, same?

18            A.   Yes.

19            Q.   Is time spent watching a live streamed

20    video also tracked by Facebook?                            02:32:47

21                 MR. SCHWING:     It's outside of the scope.

22            Q.   (By Mr. Gould)     You can answer, if you

23    know.

24            A.   I know it's tracked.

25            Q.   Okay.   To what extent does the scrubbing     02:32:57

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1     interaction apply to a live streamed video?               02:33:11

2               I mean, how -- to what extent can you use

3     that for a live stream video?

4          A.   I'll -- I'll answer that in two ways.

5               One, is a live stream video, after it's         02:33:28

6     no longer live, it can be shown to a user.

7               It comes with a heading on it, like

8     Benjamin Gould was live.    And I don't -- I mean,

9     technically, it's a prerecorded live and -- but you

10    could scrub.                                              02:33:56

11              The other example would be, Mr. Gould, if

12    you were streaming live and I were watching you

13    stream live, I can go back a -- a little bit.         I

14    can't fast-forward while you're live.       But I could

15    catch up to where -- where you were -- where you          02:34:18

16    were in real-time.

17         Q.   Right.

18         A.   Does that -- yeah.

19         Q.   And same with move ten seconds ahead,

20    move ten seconds behind, if a live streamed video         02:34:29

21    has been saved to the platform, those interactions

22    can be used on that video, correct?

23         A.   Correct.

24         Q.   Okay.    And is it -- is it the case that

25    when a video is being live streamed, a user, who is       02:34:48

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1     watching that video, has the option of selecting a        02:34:53

2     move ten seconds back interaction?

3          A.    My -- from my best understanding, yes.

4          Q.    Okay.     Can a user, who is live

5     streaming -- or excuse me -- who is watching a live       02:35:13

6     stream video, select rewind?

7          A.    Sorry.     Let me clarify something I said

8     earlier.

9          Q.    Sure.

10         A.    Rewind would be, go ten seconds back.          02:35:26

11         Q.    Oh.     Oh, okay.    I see.    Got it.

12         A.    There -- there's no rewind button, but

13    there is go back ten seconds.

14         Q.    Okay.     And here I'm talking about for any

15    video on the Facebook Platform, does Facebook             02:35:44

16    enable users to speed up or slow down the playback

17    of that video?

18         A.    I know I've seen some tests -- let me

19    think for a second.

20         Q.    Sure.                                          02:36:11

21         A.    If it's live or -- I'm not sure if it's

22    live in production.      I'm aware of some experiments,

23    but I -- I would have to just -- I would have to

24    look at it to see if it's actually live in

25    production.                                               02:36:35

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1          Q.      Okay.   By "some tests," you mean Facebook   02:36:35

2     has experimented with such a tool, but hasn't

3     introduced it to the platform, correct?

4          A.      That -- that's what I meant by -- so for

5     example, maybe the test would be -- here's a              02:37:00

6     functionality that would be given to a set of

7     users.

8                  But, you know, I -- I -- I would actually

9     have to check to say is that generally available

10    to -- you know, as the normal player.         And,        02:37:17

11    you know, sitting here today, off the top of my

12    head, I -- I don't know if that's one of the

13    controls.

14         Q.      Okay.   Are you familiar with a product

15    called Facebook Watch?                                    02:37:48

16         A.      Yes.

17         Q.      What is or was Facebook Watch?

18         A.      Facebook Watch is the name that was

19    given -- or I would call it the brand name given to

20    the video tab.                                            02:38:09

21         Q.      Does Facebook produce its own video

22    content?

23         A.      Can you like -- can you -- or define

24    "produce"?     Help me a little bit.

25         Q.      Sure.   Sure.                                02:38:36

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1                  Well, let me ask you this, are there any         02:38:46

2     groups or divisions within the Facebook company

3     whose main responsibility is -- is the user

4     experience of video content?

5                  MR. SCHWING:     It's vague.                     02:39:15

6                  THE DEPONENT:     Yeah.    I -- I was going to

7     ask you a clarification.

8                  So I could use a little bit more clarity

9     on the word "video content."

10         Q.      (By Mr. Gould)     Sure.                         02:39:25

11         A.      Use a little bit more clarity on the word

12    "user experience."

13         Q.      Sure.

14                 For purposes of this question --

15         A.      Uh-huh.                                          02:39:34

16         Q.      -- I'm talking about uploaded video and

17    live streamed video, whether or not that live

18    streamed video is live streaming, or was live

19    streaming, and then saved to the platform.

20                 I'm including those things.                      02:39:56

21                 Is there another type of video content

22    that's available on the Facebook Platform that you

23    can think of?

24         A.      Start back with the -- the ones you

25    mentioned.     I'll -- let's -- I want to be --               02:40:12

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1          Q.      Yeah.   Sure.                                02:40:15

2          A.      -- I want to be sure.

3          Q.      Videos uploaded by user's pages --

4          A.      Okay.

5          Q.      -- groups, right.                            02:40:21

6          A.      Got that.

7          Q.      Okay.   Live streamed videos, that would

8     be another type of this group I'm talking about.

9                  Another type would be -- if we want to

10    classify it as a separate category, I suppose, live       02:40:38

11    streamed videos that are then saved to the

12    Facebook Platform and are available on demand.

13                 Is --

14         A.      Those three?

15         Q.      Yeah.                                        02:40:51

16                 Is -- is there another type of video

17    content available on the Facebook Platform that

18    does not fall under one of the headings I just

19    mentioned?

20         A.      Is there -- I -- I'm sorry.                  02:41:10

21                 Is there another type of video content?

22         Q.      Yeah.

23         A.      I could think of a video call on

24    Messenger as maybe not falling under those.

25         Q.      Anything else?                               02:41:26

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1          A.   And after those four, I can't think of           02:41:31

2     any other heading.

3          Q.   Fair enough.

4               We earlier talked about Meta

5     Business Suite and Creator Studio, and I don't want        02:41:48

6     to talk about those.

7               What I want to talk about is any other

8     functionality aside from those tools that allows a

9     Facebook user, Facebook group, Facebook page to

10    record video.                                              02:42:07

11         A.   You're saying outside of those tools?

12         Q.   Yes.

13         A.   An example is, you can go to Facebook

14    right now, you're in feed, and you can record a

15    video that shows in feed.                                  02:42:31

16         Q.   Is there any other functionality that you

17    can think of that's used to record video on the

18    Facebook Platform?

19         A.   You can go to the live player.         I would

20    call that as recording video.      So you can click the    02:42:58

21    go live button.

22         Q.   And once a user has logged onto Facebook,

23    where does the user have to go to click or access

24    the go live button?

25         A.   I don't have the interface in front of           02:43:32

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1     me.    But if you go to your page or profile, or --           02:43:34

2     or whatnot, you can -- you can go live from there.

3            Q.   Okay.   Can you go live from the newsfeed?

4            A.   I -- I don't know if you can go live from

5     the newsfeed.                                                 02:43:58

6                 MR. SCHWING:     Can I beg your indulgence

7     to have 20 seconds before you ask your next

8     question.    I just need to do something --

9                 MR. GOULD:     Sure.     Sure.   Of course, you

10    can.                                                          02:44:37

11                MR. SCHWING:     Okay.     Thank you.

12                MR. GOULD:     Yeah, no problem.

13           Q.   (By Mr. Gould)     Let's see here.      Does

14    Facebook enable a user page or group that has

15    uploaded a video to track how many people have                02:45:32

16    watched that video?

17                MR. SCHWING:     It's outside the scope.

18                THE DEPONENT:     So if a user or a page

19    entity, whatever, has uploaded a video, just about

20    anybody can see how many views it's gotten.                   02:46:10

21           Q.   (By Mr. Gould)     And I would assume that

22    this number of views metric would have to be unique

23    to video content on Facebook, correct?

24           A.   That's correct.

25           Q.   Okay.   Has -- has Facebook partnered or          02:46:36

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1     entered into any venture that you can think of with            02:46:53

2     a media company to produce original video content?

3                  MR. SCHWING:     It's outside of the scope

4     of the deposition.

5                  THE DEPONENT:     I'm -- I'm aware of such        02:47:16

6     original content.

7             Q.   (By Mr. Gould)     What are those third

8     parties that Facebook has partnered with to provide

9     such content, if you know?

10                 MR. SCHWING:     Outside the scope of the         02:47:35

11    deposition.

12                 THE DEPONENT:     That's correct.      I do not

13    know.

14            Q.   (By Mr. Gould)     Okay.    Fair enough.

15                 Am I right in -- in surmising that you            02:47:43

16    know that Facebook has partnered with third parties

17    to provide original video content, but you don't

18    know what that content is or who those third

19    parties are?

20                 MR. SCHWING:     Same objection.                  02:48:01

21                 THE DEPONENT:     I don't know who the

22    parties -- sorry.

23                 I don't know who the partners are, but I

24    know of a show called Red Table Talk.

25            Q.   (By Mr. Gould)     And that's a show that         02:48:15

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1     has been produced by Facebook in partnership with a        02:48:19

2     third party?

3                MR. SCHWING:     That's outside the scope.

4                THE DEPONENT:     I believe --

5                MR. SCHWING:     I'm sorry.    Hang on.         02:48:28

6                Mr. Miller, you're faster than I am.

7                THE DEPONENT:     Sorry.

8                MR. SCHWING:     Outside the scope of the

9     deposition.

10               Go ahead.                                       02:48:36

11               THE DEPONENT:     Sorry.    Mr. Gould, you'll

12    have to repeat that.      I'm sorry.

13         Q.    (By Mr. Gould)     Sure.    Yeah.   No, no

14    problem.

15               You mentioned a show called                     02:48:47

16    Red Table Talk, right?

17         A.    Correct.

18         Q.    And that's a show that has been produced

19    by Facebook in partnership with a third party?

20         A.    Maybe I just don't know what the word           02:49:04

21    "produced" means.

22               Can you rephrase it?

23         Q.    Sure.

24               By "produce," in this context -- oh,

25    sorry.                                                     02:49:18

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1                 Is it a scripted show?                         02:49:18

2          A.     I --

3                 MR. SCHWING:     Outside of the scope --

4     outside of the scope of the deposition.

5                 THE DEPONENT:     I don't know what that       02:49:26

6     means.    Sorry.

7          Q.     (By Mr. Gould)     Yeah.    Sure.

8                 Are there human beings in the show called

9     Red Table Talk?

10                MR. SCHWING:     Same objection.               02:49:39

11                THE DEPONENT:     I know there are humans in

12    the show, Red Table Talk.

13         Q.     (By Mr. Gould)     And when they speak, are

14    they speaking lines from a script or are they doing

15    something other than that?                                 02:49:59

16                MR. SCHWING:     Same objection.

17                THE DEPONENT:     I don't know the answer to

18    your question.

19         Q.     (By Mr. Gould)     Okay.    Okay.   Fair

20    enough.                                                    02:50:08

21                To what extent can you speak today on --

22    on what has caused the amount of video content

23    available on the Facebook Platform to increase or

24    decrease over the years?

25                Is that a subject that you're prepared         02:50:56

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1     to -- to speak about today, to some degree?                02:50:58

2          A.      Only to a small degree.

3          Q.      Well, let's just see how far we can get.

4                  If you wouldn't mind, Mr. Miller, going

5     to the -- the -- the Veritext Exhibit Share here           02:51:17

6     and opening -- opening Exhibit 619.

7          A.      I am --

8                  MR. SPRINGER:     I'm copying that now.

9                  THE DEPONENT:     Oh, thanks.

10         Q.      (By Mr. Gould)     Let me know when you're    02:51:56

11    there.     Take your time.

12         A.      So I'm in a folder called Marked

13    Exhibits -- oh, never mind.

14                 I see an Excel file.      I'm opening up an

15    Excel file.                                                02:52:12

16         Q.      Fabulous.

17         A.      Okay.

18         Q.      Let me know once it -- okay.        So --

19         A.      It's a table.

20         Q.      Okay.     So this appears to be an Excel      02:52:21

21    file with two columns, the first denoting "year"

22    and the second being labeled "video_sends,"

23    correct?

24         A.      I see that.

25         Q.      Okay.     Do you have any sense of the        02:52:41

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1     metrics that you are looking at -- at -- on this           02:52:47

2     table?

3                  MR. SCHWING:     It's outside the scope of

4     the deposition.

5                  THE DEPONENT:     I -- I have two things to   02:52:59

6     say about --

7             Q.   (By Mr. Gould)      Of course, please.

8             A.   -- about the exhibit.

9                  I reviewed all of the documents that were

10    sent to me.     I don't remember seeing this as one of     02:53:09

11    them.

12            Q.   Sure.

13                 Okay.   What was the second thing you

14    wanted to say?

15            A.   I have no idea what this is.                  02:53:20

16            Q.   Oh, okay.   Okay.     Fair enough.

17                 Okay.   Fair to say then that if I were to

18    ask you about similar tables displaying

19    video-content-related metrics, you wouldn't be able

20    to speak knowledgeably about those; is that                02:53:50

21    correct?

22                 I don't want to waste your time.

23            A.   That's correct.

24            Q.   Okay.   Okay.    So then let me ask you a

25    more qualitative question and see if --                    02:54:07

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1          A.     Yeah.                                          02:54:10

2          Q.     -- this is sort of within your area of --

3     of preparation.

4                 Is it fair to say that since 2007, the

5     amount of video content available on the                   02:54:21

6     Facebook Platform has greatly increased?

7                 MR. SCHWING:     Vague.

8                 THE DEPONENT:     When you say "amount" --

9          Q.     (By Mr. Gould)     Sure.

10         A.     -- could I --                                  02:54:40

11         Q.     Sure.

12                If I were to say "volume of video

13    content," would that be easier to understand?

14         A.     I --

15                MR. SCHWING:     It's vague.                   02:54:50

16                THE DEPONENT:     Amount and -- did you mean

17    the number of videos on the platform or did you

18    mean how much video was being watched on the

19    platform?

20         Q.     (By Mr. Gould)     Let's talk first about      02:55:09

21    how much video is uploaded to the platform.

22                Is it fair to say that since 2007, the

23    amount of video uploaded to the platform has

24    greatly increased?

25                MR. SCHWING:     Calls for -- it's outside     02:55:29

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1     the scope of the deposition.                                 02:55:31

2                  THE DEPONENT:     What I would say is it has

3     increased.     I -- I don't have the data, but it's

4     increased.

5          Q.      (By Mr. Gould)     Okay.    And what, in        02:55:40

6     Facebook's view, has caused that increase?

7          A.      So based on --

8                  MR. SCHWING:     Sorry.    It's outside the

9     scope of the deposition.

10                 If you know, you can answer.                    02:56:04

11                 MR. GOULD:     Sorry, Mr. Miller.      I will

12    reask the question.

13                 But I just want to say, for the record,

14    that -- that this was a topic that -- when

15    questioning Facebook's designee on subtopics 9a and          02:56:16

16    9b, I explicitly noted that I hoped Mr. Miller

17    would be able to cover.

18         Q.      (By Mr. Gould)     I'll reask the question.

19         A.      Sure.

20         Q.      The question was -- so we were talking          02:56:34

21    about an increase in the amount of video content

22    uploaded to the platform, and I asked you, what, in

23    Facebook's view, has caused that increase?

24         A.      Based on my preparation, where I looked

25    at major things that Facebook did to allow users to          02:56:56

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1     access video on the platform, interact, et cetera,        02:57:03

2     in my preparation -- or based on my preparation, I

3     would say that the increased number of surfaces

4     where a video has shown, the improved ranking of

5     those videos, the number of users that have come to       02:57:24

6     Facebook since 2006 through today, those are

7     factors that have increased the amount of video on

8     the platform.

9          Q.      Is it fair to say that since 2007, the

10    amount of user engagement with video content has          02:58:02

11    markedly increased?

12                 Do you want me to define "engagement"?

13    I'm happy to.

14         A.      Sure.

15         Q.      Okay.     By "engagement," I -- I mean       02:58:16

16    something like the degree of participation and

17    communication an individual has within an online

18    community.

19                 Okay.     So understanding that that is

20    the -- my working definition of "engagement," is it       02:58:40

21    correct to say that the amount of user engagement

22    with video content on the Facebook Platform has

23    markedly increased since 2007?

24         A.      Yeah --

25                 MR. SCHWING:     Sorry.   It's -- we're      02:59:02

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1     getting a message from the Special Master I just           02:59:06

2     saw, "I need to restart my machines.          Be right

3     back."    So I guess we can --

4                 MR. GOULD:   Let's go off the record then.

5                 THE VIDEOGRAPHER:     Okay.    We're off the   02:59:17

6     record.    It's 2:59 p.m.

7                 (Recess taken.)

8                 THE VIDEOGRAPHER:     We're back on the

9     record.    It's 3:08 p.m.

10         Q.     (By Mr. Gould)     I just want to go through   03:08:20

11    a few other video-content-related functionality

12    that seems to be available on the

13    Facebook Platform.

14                Does Facebook make available to users a

15    video editor?                                              03:08:39

16         A.     Some of those professional tools I

17    mentioned has video editing.

18         Q.     Is there such a thing as a basic video

19    editor?

20         A.     In newsfeed, when you make a video, you        03:09:02

21    can do basic editing.

22         Q.     Can you tell me what functionalities are

23    available on that basic video -- video editing

24    thing?

25         A.     So I'll -- I'll call it the basic video        03:09:19

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1     editing tool.                                               03:09:25

2          Q.    Fabulous.

3          A.    And examples would be -- oh, clipping,

4     you know, chopping off.      You can add a sound like

5     an audio track.      And you can add like a filter.         03:09:42

6     Change some of the ways it looks.        And then you can

7     add some text.

8          Q.    When was this basic editing tool first

9     made available to users?

10         A.    I -- I don't know -- the basic editing           03:10:14

11    that I just mentioned?

12         Q.    Uh-huh.

13         A.    I don't know when it -- when it was first

14    made available.

15         Q.    Okay.     Fair to say that a tool named          03:10:23

16    basic video editing is unique to video content,

17    correct?

18               MR. SCHWING:     Lacks foundation.

19               THE DEPONENT:     If I understood your

20    question, though, the things that I mentioned,              03:10:52

21    like, for example, clipping, clipping wouldn't

22    apply to, say, a photo.      So -- but photos, you can

23    still do some filters.

24               So given that ambiguity, did you want to

25    rephrase anything?                                          03:11:18

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1          Q.    (By Mr. Gould)    Yeah.    Of course.          03:11:19

2                The clipping -- the clipping

3     functionality in the basic editing tool is

4     inherently unique to video content, correct?

5          A.    Correct.                                       03:11:42

6          Q.    Okay.   Oh, and you mentioned an audio

7     track tool, correct --

8          A.    Correct.

9          Q.    -- or audio track -- track functionality

10    that's part of this basic video editing tool,             03:12:01

11    correct?

12         A.    Correct.

13         Q.    Is that in any way unique to video

14    content?

15         A.    So you can add audio to a -- like a            03:12:18

16    sequence of photos.    So I -- I wouldn't say that

17    audio would be unique.

18         Q.    But with that qualification, that you can

19    also use it -- you can also have it added to a

20    sequence of photos, then it's accurate to say that        03:12:45

21    adding an audio track is something you, as a

22    Facebook user, can do to video content and a

23    sequence of photos, but no other kind of content?

24         A.    You know, I can definitely say that you

25    can add audio to video -- sorry -- an audio track         03:13:14

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1     to video.                                                 03:13:19

2             Q.   Okay.

3             A.   But beyond video -- yeah.

4             Q.   Can you add captions to a video that you

5     upload?                                                   03:13:39

6                  Let me know if you want me to define

7     that.

8             A.   I --

9                  MR. SCHWING:     Outside -- outside the

10    scope of the deposition, which relates to access          03:13:47

11    interactions with video.

12                 Go ahead, if you know.

13            Q.   (By Mr. Gould)     Do you want me to -- do

14    you want me to define what I mean by "captions"?

15            A.   I -- I -- sure.                              03:13:58

16            Q.   Okay.   What I mean by "captions" is text

17    that is designed to enable better access to video

18    content by persons with hearing disabilities.

19                 Under that definition of "captions," can

20    you add -- can a Facebook user add captions to            03:14:30

21    uploaded video?

22            A.   Yes.

23            Q.   Does Facebook have auto-generated

24    captions for any of its uploaded -- for any video

25    content that is uploaded by Facebook users?               03:14:53

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1           A.   I'm thinking.                                  03:15:08

2           Q.   Sure.

3           A.   I'm trying to figure out -- so video

4     content that's uploaded to Facebook can have

5     auto -- software-generated captions displayed on          03:15:23

6     it.

7           Q.   And do you know what determines whether a

8     given piece of video content will have

9     software-generated captions?

10          A.   I want to say a couple things.                 03:15:54

11          Q.   Sure.

12          A.   So being prepared to talk about how video

13    was shown to users and how users can interact with

14    it, most of my preparation is on the user

15    consumption side, right.    Users have -- users           03:16:08

16    consuming video.

17               Based on my knowledge, I don't know all

18    the reasons for why or why not a video would have

19    captions on it.

20          Q.   Fair enough.                                   03:16:33

21               Do you happen to know when

22    software-generated captions were first made

23    available or introduced on the Facebook Platform

24    for video content?

25          A.   No.                                            03:16:46

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1          Q.     Okay.    Have you heard the term              03:16:46

2     "thumbnail" in relation to video content on the

3     Internet?

4          A.     Yes.

5          Q.     When it's used in relation to video           03:17:06

6     content on the Internet, what is a thumbnail?

7                 MR. SCHWING:     It's vague.

8                 THE DEPONENT:     My -- my definition?

9          Q.     (By Mr. Gould)     Yes.   Sure.    Your

10    definition.                                               03:17:20

11         A.     To me, a thumbnail is a static image that

12    shows on top of whatever real estate on the screen

13    is -- is representing where the video would show.

14    So you haven't played the video, it's a static

15    image before you play it.                                 03:17:45

16                Is that your understanding?

17         Q.     Right.

18                So let me -- let me see if I'm -- I'm

19    characterizing this correctly.

20                As -- as you understand the term              03:17:57

21    "thumbnail" then, it -- it means a static image

22    that, before video content is played, shows the

23    availability of that video content to a user; is

24    that about right?

25         A.     I -- I don't know what you mean by            03:18:21

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1     "availability."           But -- I'm -- I'm getting a gist,      03:18:23

2     but I -- I got hung up on the word "availability."

3             Q.      Sure.     Sure.   Sure.     Let me then -- let

4     me rephrase it.

5                     As you understand it, does a thumbnail           03:18:35

6     refer to a static image displayed to a user, before

7     video content is played, that shows that certain

8     video content exists on a given platform, Web page,

9     whatever?

10                    MR. SCHWING:      It's vague.                    03:19:11

11                    THE DEPONENT:      Mr. Gould, can I rephrase?

12            Q.      (By Mr. Gould)      Yeah.     Sure.   Please,

13    yeah.        I'll bet you'll do a much better job than I

14    can.

15            A.      I think there was two parts to that.             03:19:20

16                    My understanding of a thumbnail is if

17    there is a video that is playable, before it plays,

18    and there's a play button, you -- sometimes you can

19    see a static image behind -- behind that play

20    button.                                                          03:19:46

21                    But I got hung up on the word

22    "availability."           I -- to me, the presence of a play

23    button is what signifies the availability of a

24    video with or without a thumbnail.

25            Q.      Got it.                                          03:20:01

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1          A.     But --                                        03:20:04

2          Q.     Okay.    So -- sorry.   I -- then -- I'm

3     just trying to create a clean record here.

4                 A thumbnail, under your understanding, is

5     a static image that sometimes appears behind a play       03:20:14

6     button or video content on the Internet?

7          A.     Behind a play button -- repeat the

8     sentence.    Behind a play button...

9          Q.     Sure.

10                Under your understanding, a thumbnail is      03:20:35

11    a static image that sometimes appears behind a play

12    button on video content, on the Internet, before

13    the video content is played?

14         A.     That's my understanding.

15         Q.     Okay.    A user page or group, or just        03:20:51

16    uploader of video content onto Facebook, can such

17    an uploader select the thumbnail they wish to use

18    for that video?

19         A.     There are circumstances where they can.

20         Q.     Okay.    What are those circumstances?        03:21:20

21         A.     I'm not aware of all the circumstances or

22    what's available in, say, the professional tools we

23    talked about, only because the focus was on how we

24    make video accessible to users, and I -- I didn't

25    prepare on the -- the production side.                    03:21:48

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1          Q.    Sure.                                          03:21:53

2                So then, presumably, you're not prepared

3     to answer when the ability to select a thumbnail

4     first became available to a user who uploads video

5     content to the Facebook Platform?                         03:22:11

6                You can't answer that.       Okay.

7          A.    I wouldn't know.

8          Q.    Okay.     Fair enough.

9                Correct me if I'm wrong, but I believe

10    you characterized Facebook Watch as synonymous with       03:22:25

11    the video's tab surface that you had spoken about

12    earlier in this deposition.

13               Am I right?

14         A.    Almost.

15         Q.    Okay.     How would you characterize           03:22:48

16    Facebook Watch then?

17         A.    So in 2017, Facebook announced the launch

18    of Facebook Watch, which was a video tab, and this

19    is a tab where users can go to consume just video

20    content.                                                  03:23:16

21         Q.    Okay.     Did a video tab exist before

22    Facebook Watch?

23         A.    Yes.

24         Q.    Okay.     And how long was that video tab

25    around before Facebook Watch?                             03:23:33

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1          A.     About a year.                                 03:23:38

2          Q.     Okay.   And before Facebook Watch, but

3     during the existence of the video tab that preceded

4     it, did a -- did the -- did the video tab surface

5     provide only video content to the user?                   03:23:56

6          A.     Can you -- you -- you -- can you repeat

7     the type of -- I think you said --

8          Q.     Yeah.   Sure.

9          A.     I didn't want to mess up on the time

10    frame.                                                    03:24:12

11         Q.     No, it's fine.

12         A.     You said --

13         Q.     You said that the video tab was around

14    for about a year before the introduction to

15    Facebook Watch, correct?                                  03:24:21

16         A.     Correct.

17         Q.     During that approximately year period,

18    did that video tab provide video-only content to

19    the user?

20         A.     Yes.                                          03:24:38

21         Q.     Okay.   I think we touched on a feature

22    called Facebook Live, correct?

23         A.     Correct.

24         Q.     Okay.   How would you characterize

25    Facebook Live?                                            03:25:01

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1                 How would you describe it to somebody who       03:25:02

2     wanted to know what it was?

3          A.     I would describe it as the ability for

4     you to live stream whatever off of your camera and

5     share it with whomever you would choose on the              03:25:26

6     Facebook Platform.

7          Q.     And then if you so choose, you can save

8     that live streamed video to the Facebook Platform?

9          A.     Sorry.    As -- as the producer of that

10    content or as the --                                        03:25:48

11         Q.     As the producer of that content.

12         A.     Yes.

13         Q.     Okay.    Can consumers of that content also

14    save that video content?

15         A.     So in general, a user can save a video,         03:26:03

16    and it would show up in their saved videos part of

17    the Facebook Platform, including -- including the

18    was live version of what you mentioned.

19         Q.     Before the Facebook Live feature of --

20    was it possible to live stream video on the                 03:26:29

21    Facebook Platform?

22         A.     I -- I don't -- well, sorry.       Repeat the

23    question.

24         Q.     Sure.    Yeah.

25                You said Facebook Live began in 2017,           03:26:47

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1     right?                                                     03:26:50

2             A.   2016.

3             Q.   Sorry.     2016.

4                  Okay.    Before the introduction of

5     Facebook Live, was it possible to live stream video        03:26:58

6     on the Facebook Platform?

7             A.   Yes.

8             Q.   Okay.    And what were the ways in which it

9     was possible to live stream video on the

10    Facebook Platform before the introduction of               03:27:17

11    Facebook Live?

12            A.   Some pages -- some pages could stream

13    live.

14            Q.   Any other ways in which live stream to

15    video could be made accessible to Facebook users on        03:27:44

16    the Facebook Platform, before the introduction of

17    Facebook Live?

18            A.   Not -- not -- not to my knowledge, before

19    what I just mentioned about some pages.

20            Q.   Sure.                                         03:28:00

21                 When did some pages first become enabled

22    to stream live video?

23            A.   In 2015.

24            Q.   And was it Facebook -- sorry.

25                 Was there some criterion by which some        03:28:37

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1     pages could live stream videos before                          03:28:42

2     Facebook Live, but others couldn't?

3             A.   Yes.

4             Q.   And what was that criterion, or criteria,

5     maybe?                                                         03:28:54

6             A.   Right.

7                  These pages had to be trustworthy.        And I

8     know an example that would be, they would be

9     verified.

10            Q.   So -- and by "verified," what do you              03:29:14

11    mean?

12            A.   At a -- at a high level, it's here's a

13    person or a page that really is who they say they

14    are.

15                 For example, let's say that                       03:29:40

16    Benjamin Gould is a famous actor.       Nobody wants an

17    imposter to create a page, "Hey, I am

18    Benjamin Gould, the famous actor."       And so there's

19    some offline process, that I don't know the details

20    about, based on my preparation, but it's really                03:30:04

21    just, yup, this is the -- this is the person or

22    actor, or whatever, that it's -- it's -- it's

23    pretending to be.     This is really them.

24            Q.   We talked about a functionality that

25    allowed users to save videos on the consumer side,             03:30:30

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1     right?                                                     03:30:36

2          A.     Correct.

3          Q.     Okay.     How long has that functionality

4     been around?

5          A.     A user could save a video to, you know,        03:30:45

6     their saved whatevers in -- in 2014.

7          Q.     Okay.     Are you familiar with any features

8     made available to somebody who is live streaming on

9     the Facebook Platform?

10         A.     What --                                        03:31:40

11         Q.     What do I mean by "features"?

12         A.     Yeah.     And -- and do you -- you know,

13    exclusively to the live streamer or app -- sorry.

14         Q.     Yes.    So -- so what features or

15    functionalities that pertain solely to the live            03:31:52

16    stream are made available to somebody who is live

17    streaming on the Facebook Platform?

18         A.     So one example would be the live streamer

19    could create an event.       "Hey, I'm going to go live

20    at this time."                                             03:32:29

21         Q.     Can they add a donate button, say, if

22    they are doing a fundraiser?

23         A.     I believe so.

24         Q.     Can they add captions for the hearing

25    impaired?                                                  03:32:48

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1          A.      What time period?                               03:32:52

2          Q.      For any time period.

3          A.      Sorry.     Well, here's what I will say.

4                  You can live stream, captions can show.

5     I don't remember when captioning was available for           03:33:05

6     live streaming.

7          Q.      But it currently is available for live

8     streaming?

9          A.      It's currently available for

10    live streaming.                                              03:33:19

11         Q.      And what you're saying is you -- you

12    don't know when that was first introduced?

13         A.      Correct.

14         Q.      Okay.    Is there a polls functionality

15    that's made available to people who are live                 03:33:28

16    streaming video on Facebook?

17         A.      So there's a --

18         Q.      O-L -- sorry.     P-O-L-L-S.     Sorry.

19         A.      No, I -- I caught the gist.        And I know

20    what feature you're talking about.                           03:33:49

21                 You can launch a poll.       I don't know if

22    it's still available, but -- it might be.              But

23    there were times when it was, if not still.

24         Q.      Is there a watch parties feature

25    available on Facebook?                                       03:34:24

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1          A.      I don't think that feature is available        03:34:30

2     anymore.

3          Q.      Was there a watch parties feature

4     available on Facebook at any time?

5          A.      Yes.                                           03:34:41

6          Q.      Do you know when it was available?

7          A.      I don't remember when it was made

8     available.

9          Q.      And you don't know -- but -- sorry.

10                 You know it is no longer available?            03:34:58

11         A.      I don't think it's any longer available.

12         Q.      Okay.   And you don't know when it was

13    made no longer available also, correct?

14         A.      Let me think about it for a second.

15         Q.      Sure.                                          03:35:09

16         A.      It was no longer available -- what I can

17    say is some point after 2019, it was no longer

18    available.     But specifically when, I'm not sure.

19         Q.      Can people who are live streaming to the

20    Facebook Platform add video effects?                        03:35:40

21         A.      Can you give me an example of that.        I

22    think I know what you're asking --

23         Q.      Sure.   Yeah, of course.

24                 An example of a video effect of the sort

25    I'm talking about is like hearts in place of your           03:36:05

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1     eyes.                                                        03:36:13

2                  Have you ever seen that on the Internet,

3     videos where somebody's hearts are replaced by

4     special effect eyes?

5                  MR. SCHWING:     I think you may have that      03:36:27

6     backwards.     Otherwise it would be a little creepy,

7     but...

8                  MR. GOULD:     Oh.     Thank you, Austin.

9             Q.   (By Mr. Gould)        Have you ever seen a

10    video on the Internet where somebody's eyes are              03:36:36

11    replaced by special effect hearts?

12            A.   I have.

13            Q.   Okay.     So that's --

14            A.   Yeah.

15            Q.   -- the kind of thing I'm talking about.         03:36:47

16                 Do you understand the general category of

17    things I'm talking about here?

18            A.   Yes.

19            Q.   Does Facebook enable people who are live

20    streaming on the Facebook Platform to add effects            03:37:03

21    of that general sort?

22            A.   I don't know if you can live stream with

23    a live version of these effects on Facebook.

24            Q.   Okay.     Does Facebook make available to

25    its users any tool or functionality by which                 03:37:30

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1     effects of the kind that we're talking about can be            03:37:36

2     added to prerecorded uploaded videos?

3          A.      Yes.

4          Q.      Okay.     How long has that functionality or

5     tool been available to users?                                  03:37:50

6          A.      I'm thinking about Facebook and I don't

7     know exactly.        I know it's live today.     And I don't

8     know exactly when it launched.         But I know that it

9     must have been within like, say, the year or so --

10    in the past year or so.                                        03:38:15

11         Q.      Can you -- say one user is live streaming

12    and wants to add in another user, who is also live

13    streaming.

14                 Can those -- can one user add another

15    user to a live stream?                                         03:38:50

16         A.      I think you're asking if -- are you

17    asking if they can be added midstream --

18         Q.      Yes.

19         A.      -- or they -- I -- I don't know if in the

20    middle of a stream you can add another streamer.               03:39:12

21         Q.      Okay.     Can you add another stream -- or

22    excuse me.

23                 Can two separate streamers stream

24    together -- start streaming together?

25                 MR. SCHWING:     It's outside the scope.          03:39:35

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1                     I've -- I've -- I've let these questions           03:39:37

2     go.     But almost all of them have to do with

3     production of video, not access to video.

4                     You can answer, if you know the answer.

5                     THE DEPONENT:    So I don't know if that           03:39:46

6     feature is available on Facebook or if that

7     production capability is available on Facebook.

8             Q.      (By Mr. Gould)    Okay.    Can one user tag

9     another user on uploaded video?

10            A.      I think a user can be tagged in a video            03:40:23

11    post.        But no user can be, for example, tagged

12    inside the video.

13            Q.      Does Facebook enable somebody who is

14    watching a live stream to share that live stream

15    with a Facebook friend?                                            03:40:54

16            A.      I'm thinking about the product case you

17    just asked me.          Users -- sorry.    Make -- I want to

18    make sure I understand the question.

19                    A -- a producer is live streaming.          A --

20            Q.      Yeah.                                              03:41:13

21                    A user is watching that -- that live

22    stream and wants to share that live stream with a

23    friend.

24                    Is there a share button that can do that?

25            A.      I believe there is.                                03:41:28

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1          Q.   Okay.     Are there -- can a user react --        03:41:30

2     record a reaction to a live stream?

3          A.   Sorry.

4          Q.   Yeah.

5          A.   Record?                                           03:41:54

6          Q.   Yeah.     Sorry.    That was bad.

7               I'm going to, for the purposes of the

8     next question, only use the word "like" to mean

9     like -- or any other reaction.        Like, for an

10    example, like a smiley, emoji, that kind of thing.          03:42:14

11              Does that make sense?         Do you understand

12    what I mean?

13         A.   It makes sense.        I know what you mean.

14         Q.   Okay.     So under that definition of

15    "like," can a user like a live stream?                      03:42:24

16         A.   Yes.

17         Q.   Okay.     What are all the ways in which a

18    user can share an uploaded video with another user?

19         A.   Okay.     Let me think about that for a

20    second.                                                     03:42:57

21              MR. GOULD:     Sure.

22              MR. SCHWING:       It's vague.     Incomplete

23    hypothetical.

24              If you know, you can answer.

25              THE DEPONENT:       I -- I can think of a         03:43:11

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1     couple ways that a user can share an uploaded video       03:43:13

2     with another user.

3               In your question, who was the poster and

4     who was the consumer and --

5          Q.   (By Mr. Gould)       Sure.                      03:43:33

6          A.   -- who's the other user?

7          Q.   Yeah.

8               Let's say the user who wants to share is

9     a consumer of that uploaded video and wants to

10    share that uploaded video with another consumer of        03:43:47

11    that uploaded video.

12         A.   Okay.    Sorry.     Now you -- now you

13    confused me with -- with one more thing.

14         Q.   Oh, I --

15         A.   Can we -- can -- can you -- can you give        03:43:59

16    me the example -- how about this -- could you give

17    me the example question as a -- can you -- I

18    don't -- I didn't understand what you meant by

19    "consumer."

20         Q.   Okay.    Okay.     Okay.                        03:44:14

21         A.   Sorry.

22         Q.   Sure.

23              Of course.       Let me give you -- then let

24    me give you like a concrete example.

25         A.   Right.                                          03:44:23

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1          Q.    I record a video of my -- my child and          03:44:24

2     upload it to Facebook.

3          A.    Uh-huh.

4          Q.    My mom then watches that video and wants

5     to share it with my aunt.                                  03:44:50

6                What are the ways in which my mom could

7     share that video with my aunt, supposing they're

8     both Facebook users?

9          A.    I --

10               MR. SCHWING:     It's an incomplete             03:45:05

11    hypothetical.

12               Go ahead.

13               THE DEPONENT:     If I'm understanding your

14    question correctly -- and I'll repeat what I

15    heard -- you uploaded a video.       A friend of yours     03:45:15

16    watched that video, and then that friend wants to

17    share that video with a friend of theirs; is that

18    correct?

19         Q.    (By Mr. Gould)     That's correct.

20         A.    So in this case, your mom could click --        03:45:33

21    could, say, click the share button.         And your mom

22    could share it with, you know, the -- the name of

23    that person who is your aunt.

24         Q.    Could my mom re-post that video to her --

25    to her own profile?                                        03:45:56

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1                  MR. SCHWING:     Vague.     And incomplete     03:46:00

2      hypothetical.

3                  THE DEPONENT:     Did you mean that -- well,

4      how about this.

5                  Did you mean that you've uploaded a            03:46:12

6      video.    It's a post.     It sells --

7                  (Simultaneously speaking.)

8           Q.     (By Mr. Gould)      Sure.

9           A.     Right.   Exactly.     I mean, post is many

10     different -- okay.       It's a post.                      03:46:24

11                 So this post, it has -- there's a URL

12     associated with this post.        And could your --

13     are -- are you saying, could your mom, with whom

14     you're friends in this scenario, post that link,

15     like post your post as her post.                           03:46:41

16                 Sorry for the...

17          Q.     No, no, no.

18                 Thank you.

19                 Maybe a better way of saying it is this.

20          A.     Okay.                                          03:46:57

21          Q.     If a -- if -- if a friend of mine wants

22     to re-post a video I have posted to my profile to

23     his or her own profile --

24          A.     Right.

25          Q.     -- is there a functionality button or          03:47:15

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1      feature provided by Facebook that allows that to be         03:47:20

2      done with a -- with a single click?

3                MR. SCHWING:     Vague.     Incomplete

4      hypothetical.

5                THE DEPONENT:     I -- I -- I can't speak to      03:47:36

6      how many clicks, but you can share -- you can share

7      a video post.     You can post, you know, to -- to

8      your friends another video post, someone else's

9      video post.

10          Q.   (By Mr. Gould)     Right.                         03:48:01

11          A.   Is that your question?

12          Q.   That's my question.

13          A.   Yeah.

14          Q.   Could one of my friends share a video I

15     had posted via the Facebook Messenger app?                  03:48:20

16          A.   I want to say two things.        I -- because I

17     think I understand your question.

18               You can -- you can share to Messenger.

19     You can, for example, copy the link and paste it

20     into Messenger.     But I -- I want to make sure that       03:48:50

21     in this testimony I'm being really clear about what

22     the word "share" means.

23               Because in these few questions, I've

24     talked about sharing as like an outward activity.

25     But I want to make sure that nothing is lost in             03:49:06

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1      translation regarding consumption because not             03:49:10

2      everything that is shared is viewable by the

3      recipient.     So I want to be clear about what you

4      mean by "share."

5           Q.      Sure.                                        03:49:26

6           A.      And maybe we just should separate for

7      clarity the ability to share and then the ability

8      to view what was shared.

9                   How's that?

10          Q.      Sure.   Absolutely.                          03:49:35

11                  If I upload a video, could -- as a post,

12     could a friend of mine share that post via

13     Facebook Messenger?

14          A.      Yes.

15          Q.      And suppose now that my friend shares        03:49:57

16     that video with a third user who is a mutual

17     friend.   Got that?

18                  So in other words, a friend both of the

19     sharer and of the poster.

20          A.      So far -- so far so good.                    03:50:21

21          Q.      Could the third user then watch the video

22     if it was shared with him via the

23     Facebook Messenger?

24                  MR. SCHWING:   Vague.   Incomplete

25     hypothetical.                                             03:50:46

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1                      THE DEPONENT:     Unfortunately -- so I      03:50:51

2      almost caught -- I -- I'm so sorry.

3              Q.      (By Mr. Gould)     No, that's fine.

4              A.      Try, in this scenario -- because there

5      are a lot of users and there are a lot of friends.           03:50:59

6              Q.      Yeah.

7              A.      But go ahead, please, one more time on

8      who these hypotheticals are and like who's friends

9      with whom, one more time.

10             Q.      Sure.                                        03:51:13

11             A.      Okay.

12             Q.      Sure.

13                     So the first user uploads a video as a

14     post.        That user is friends with a second user.

15     The second user is friends with a third user.                03:51:37

16             A.      Okay.

17             Q.      That third user is also friends with the

18     first user.

19                     Follow me thus far?

20             A.      So Mr. Gould --                              03:51:48

21             Q.      Yeah.

22             A.      Every- -- everybody is friends.

23             Q.      Everybody is friends --

24             A.      Right.

25             Q.      -- in this hypothetical.                     03:51:53

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1              A.     In this hypothetical, everybody is                    03:51:54

2      friends with each other.

3              Q.     Correct.

4              A.     Okay.    Keep going.

5              Q.     If a -- a video that the first friend --              03:52:03

6      or the first user --

7              A.     Yeah.

8              Q.     -- posts, and the second user then shares

9      it with the third user via Facebook Messenger, is

10     the third user then able to click on the shared                      03:52:25

11     link and watch the video?

12                    MR. SCHWING:     I'm going to object.        It's

13     outside the scope of the deposition.              There's a

14     separate topic for privacy and apps settings.                 It's

15     vague.       Incomplete hypothetical.                                03:52:41

16                    THE DEPONENT:     Can I tell you what I

17     know?

18             Q.     (By Mr. Gould)     Sure.    Please.

19             A.     It -- it depends on the settings.

20             Q.     Right.                                                03:52:53

21             A.     I can give you scenarios where it's

22     possible.       I can give you scenarios where it's not

23     possible.       So --

24             Q.     Totally.    Totally.    Totally.

25             A.     -- it all depends on those privacy                    03:52:58

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1      settings.                                                     03:53:00

2           Q.      Right.

3                   There are privacy settings under which it

4      is possible for that third user to watch the video

5      under the scenario I just gave, though, correct?              03:53:14

6                   MR. SCHWING:       Same objections.

7                   THE DEPONENT:       Based on my understanding,

8      Mr. Gould, if the right privacy settings are,

9      then -- then, yes --

10          Q.      (By Mr. Gould)       Okay.                       03:53:33

11          A.      -- it's possible.

12          Q.      Can -- sorry.       Let me step back.

13                  Are Facebook stories created by users

14     themselves?

15          A.      As -- sorry.       As opposed to what?           03:53:58

16          Q.      Yeah.

17                  As opposed to like being, say,

18     automatically created by -- for them by algorithm

19     or something.

20          A.      Oh.     A user can create a Facebook             03:54:11

21     story -- let me make sure I understand what you

22     mean by --

23          Q.      Yeah.     Sorry.

24          A.      What's your -- how are you defining

25     Facebook story?                                               03:54:32

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1           Q.     Well, how -- how -- I don't mean to be        03:54:32

2      difficult, but how would you define a Facebook

3      story?

4           A.     Here's how I would define a Facebook

5      story.    Maybe it's what you were mentioning.            03:54:41

6                  When you open up newsfeed at the top of

7      newsfeed, sometimes there's a horizontal tray -- it

8      actually says stories.

9                  I only say this because the word "story"

10     can be used in different capacities, but -- are you       03:54:58

11     referring to the -- the horizontal tray content at

12     the top of -- okay.

13          Q.     Correct.

14          A.     And -- I'm not aware of any automatic --

15          Q.     Okay.                                         03:55:19

16          A.     Okay.

17          Q.     Great.

18                 So can a user include in a Facebook story

19     a uploaded video or a live stream from one of his

20     or her friends?                                           03:55:47

21                 MR. SCHWING:    It's outside the scope.

22     Incomplete hypothetical.

23                 You can answer.

24                 THE DEPONENT:     Mr. Gould, are you asking

25     if a user creates a story, can they embed in that         03:56:10

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1      story somebody else's post?                                   03:56:17

2           Q.     (By Mr. Gould)        Yes.   Precisely.

3           A.     Yeah.     On the production -- I -- I

4      wouldn't know, just based on what we talked about

5      in the production side.                                       03:56:26

6           Q.     Okay.     Can a member of a group re-post

7      somebody else's post on a group page?

8           A.     To where?

9           Q.     So Facebook groups have Facebook pages

10     that are devoted to that group, correct?                      03:57:04

11          A.     More -- more or less.         I -- I understand

12     what you mean.

13          Q.     Okay.     How -- how would you -- is it --

14     sorry.    Go ahead.

15          A.     No, no.     You go.                               03:57:17

16          Q.     Okay.     If I spoke of the page for a

17     Facebook group, would you know what I was talking

18     about?

19          A.     I would call it the group itself.

20          Q.     Okay.     Great.                                  03:57:38

21                 Okay.     Then that's the term we'll use.

22          A.     Sure.

23          Q.     Can the member of a group re-post

24     somebody else's post to a Facebook group?

25          A.     Yes.                                              03:57:58

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1                 MR. SCHWING:     Incomplete -- incomplete        03:57:58

2      hypothetical.

3           Q.    (By Mr. Gould)     Can -- what sort of

4      entities are able to create a Facebook page?

5           A.    So --                                            03:58:19

6           Q.    You know what, Mr. Miller, I'm sorry.        I

7      don't mean to interrupt you.       I -- I hope this will

8      make it easier.

9           A.    Okay.

10          Q.    A wide variety of entities can create            03:58:25

11     Facebook pages; is that fair to say?

12          A.    Yes.

13          Q.    Okay.   So like nonprofit organizations

14     can create Facebook pages, correct?

15          A.    Correct.                                         03:58:41

16          Q.    Law firms can create Facebook pages,

17     correct?

18          A.    Correct.

19          Q.    Companies -- for-profit companies can

20     create Facebook pages, correct?                             03:58:53

21          A.    Correct.

22          Q.    Okay.   Can municipalities create Facebook

23     pages?

24          A.    So --

25                MR. SCHWING:     Outside the scope.              03:59:07

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1                   THE DEPONENT:     So I -- I -- I don't want   03:59:09

2      to speculate --

3              Q.   (By Mr. Gould)     Okay.

4              A.   -- Mr. Gould and -- yeah.

5              Q.   Okay.                                         03:59:14

6              A.   Yeah.

7              Q.   Fair enough.     Fair enough.

8                   So speaking then of the page -- a

9      Facebook page that's been created by an entity --

10             A.   Got it.                                       03:59:32

11             Q.   -- can an entity re-post on its page a

12     post originally posted to Facebook by somebody

13     else?

14                  MR. SCHWING:     It's outside the scope of

15     the deposition.        To the extent it implicates         03:59:54

16     privacy or apps settings, it's an incomplete

17     hypothetical and vague.

18             Q.   (By Mr. Gould)     Let me restate.

19                  If the correct privacy settings have been

20     selected, can a page re-post a post that was               04:00:17

21     originally posted to the Facebook Platform by

22     somebody else?

23                  MR. SCHWING:     It's vague.

24                  THE DEPONENT:     Can -- to -- I want to be

25     helpful.                                                   04:00:38

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1             Q.   (By Mr. Gould)        Yeah.                        04:00:38

2             A.   So within the video topic for which I

3      prepared, can you give me a hypothetical?

4             Q.   Sure.     Yeah.   Sorry.

5                  I'm just trying to -- I thought maybe              04:00:51

6      talking about posts would be easier, but clearly

7      not.

8                  I'm talking -- let -- would it be easier

9      just to talk specifically about a video that has

10     been posted to Facebook?                                       04:01:05

11                 Let's talk about that.         Okay?

12                 Does that make sense to you?           Would you

13     know what I'm talking about if I talked about a

14     video posted to Facebook?

15            A.   Yeah.                                              04:01:15

16                 MR. SCHWING:      It calls for speculation as

17     to what you would think.

18            Q.   (By Mr. Gould)        Okay.   Can -- if the

19     correct privacy settings are in place, can a page

20     re-post a video that had originally been posted --             04:01:27

21     posted to the Facebook Platform by another user or

22     another page?

23                 MR. SCHWING:      It's an incomplete

24     hypothetical.       It's vague.

25                 THE DEPONENT:      Can --                          04:01:53

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1                   MR. SCHWING:     Outside of the scope of the   04:01:53

2      deposition, to the extent it implicates privacy or

3      app settings.

4                   THE DEPONENT:     All right.     Mr. --

5      Mr. Gould, can you give me your hypothetical using          04:02:04

6      a video --

7           Q.      (By Mr. Gould)     Oh, okay.     You want --

8      you want a concrete example -- oh, sorry.

9                   Go ahead.

10          A.      Sorry.   Can you -- because I'm prepared       04:02:13

11     to speak about how users -- how the platform has

12     allowed users to see video.

13          Q.      Yeah.

14          A.      With respect to how I prepared, can you

15     please give me the hypothetical using video and             04:02:26

16     using it in chronological order -- using the

17     scenario in chronological order.

18          Q.      Sure.

19                  On Thursday, a Facebook user posts a

20     video to the Facebook Platform.                             04:02:51

21          A.      Okay.

22          Q.      On Friday, a page wants to re-post that

23     video to its own page.

24                  Assuming the correct privacy settings are

25     in place, can that page re-post that video?                 04:03:10

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1                MR. SCHWING:     It's vague as to correct           04:03:20

2      privacy settings.

3                THE DEPONENT:     Let me -- let me -- let me

4      try to repeat what I heard.

5                On day one, a user posts a video --                 04:03:33

6      let -- how about this, on day one, a user posts a

7      video to the Facebook Platform and marks it as

8      public.

9           Q.   (By Mr. Gould)        Yes.   Great.

10          A.   That part's good?                                   04:03:50

11          Q.   Sure.     Fabulous.

12          A.   On day -- somehow, because it's public, a

13     page -- well, it's actually -- it's a person,

14     because pages are operated by people.           But there's

15     a person who found -- who saw that public post.               04:04:05

16               So far so good?

17          Q.   Sure.

18          A.   Now, that person also operates a page and

19     they -- they want to -- you know, for example, take

20     the link of that public post, paste it into their             04:04:21

21     page's post, and can they post that?

22               The answer is --

23          Q.   That's the question.

24          A.   And the answer is yes.

25          Q.   Okay.                                               04:04:33

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1             A.    If everything is public, the answer is            04:04:35

2      yes.

3                   MR. GOULD:     Okay.     Thank you.

4                   MR. SCHWING:     Can we take a short break?

5      We've been going about an hour.                                04:04:41

6                   MR. GOULD:     Sure.

7                   MR. SCHWING:     Okay.

8                   MR. GOULD:     We're nearing completion.

9                   THE COURT REPORTER:        John, can you go off

10     the record.                                                    04:04:49

11                  (Videographer was not present, the

12     parties went off the record at 4:05 p.m.)

13                  (Recess taken.)

14                  THE VIDEOGRAPHER:        We're back on the

15     record.     It's 4:15 p.m.                                     04:15:40

16            Q.    (By Mr. Gould)     I ask this question

17     because I don't want to waste your time.

18                  Are you prepared today to testify about

19     what assistance, if any, Facebook gives video

20     content creators who want to make their content                04:15:58

21     available via the Facebook Platform?

22                  MR. SCHWING:     The question is vague.

23                  THE DEPONENT:     So when I prepared for

24     this topic on how the platform makes video

25     available and how users can interact with video,               04:16:17

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1      that said, I'm not prepared to talk about how             04:16:22

2      Facebook helps the production of the video.

3              Q.   (By Mr. Gould)    How about whether

4      Facebook provides like technical assistance in

5      uploading or otherwise making videos available, are       04:16:41

6      you prepared to testify about whether Facebook

7      offers that kind of assistance to video content

8      creators who want to make their content available

9      on the Facebook Platform?

10             A.   I -- I wouldn't be the right person for      04:17:05

11     that and it's not part of my topic.

12             Q.   Okay.   Great.   So then I won't ask you

13     about it.

14                  I want to go back briefly, I hope, to the

15     improvements in ranking that we were talking about        04:17:22

16     relative to the newsfeed.

17                  Do you remember we were talking about

18     that?

19             A.   I remember.

20             Q.   Okay.   Am I mischaracterizing your          04:17:32

21     testimony when I say that part of the ranking was a

22     machine-learning system that was intended to

23     discern what sort of video content was at issue

24     when -- when somebody posted a video to Facebook?

25             A.   I didn't --                                  04:18:20

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1                MR. SCHWING:     Objection.                     04:18:22

2                THE DEPONENT:     I didn't catch the

3      question --

4                (Simultaneously speaking.)

5           Q.   (By Mr. Gould)     Sure.    Sure.               04:18:24

6           A.   -- in that -- in that --

7           Q.   Okay.    Let -- then let me ask it in

8      stages.

9                When did Facebook stop presenting the

10     newsfeed chronologically, remind me?                      04:18:42

11          A.   Yeah.    Let -- in 2011.

12          Q.   And beginning in 2011, it began to

13     present users in a news- -- with their newsfeed in

14     such a way -- in a way that was intended to rank

15     that content on the newsfeed.                             04:19:18

16          A.   What -- what did you mean by "with their

17     newsfeed" --

18          Q.   Yeah.

19               Okay.    After Facebook stopped presenting

20     content chronologically to users on their                 04:19:35

21     newsfeed --

22          A.   Right.

23          Q.   -- what criteria did Facebook then begin

24     to use in order to present content to users on

25     their newsfeed?                                           04:19:51

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1




10          A.   So I'm only repeating what I had said           04:22:03

11     earlier, at a very high level, that said --

12          Q.   Okay.

13          A.   Oh, did -- because it's in my testimony,

14     is that okay or should I restate?

15          Q.   If you could restate, that would be super       04:22:16

16     helpful for present purposes.

17          A.   Yeah.

18               At a -- at a very high level, to restate,

19




                                                                 04:22:44

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1




8           A.   I'm going to change that word.

9




            Q.   Are you able to put any approximate date

24     by which you are sure that content analysis was in

25     place?                                                    04:24:46

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1           A.     Well, here's an example.                           04:24:49

2                  When I joined the company at the end of

3      2018, that type of content analysis or content

4      understanding was in place.

5           Q.     Okay.     Excluding any lawyers, who did you       04:25:03

6      speak to as part of your preparation for today's

7      deposition?

8           A.     I spoke to Ramya Seetharaman.         I spoke to

9      Saurabh Gupta.       I spoke to Anjana Dasu.      I spoke to

10     Hari Jayaraman.       I spoke to Akos Lada.     I spoke to     04:25:59

11     Karsten Hansen.

12                 And I don't remember how many people I

13     read off.

14          Q.     That's fine.

15          A.     Oh, I'm sorry.                                     04:26:33

16          Q.     No.     You were going to mention -- did

17     you --

18                 (Simultaneously speaking.)

19                 THE DEPONENT:     Karan Singh.

20          Q.     (By Mr. Gould)     -- you were going to            04:26:37

21     mention somebody else --

22          A.     Karan Singh.

23                 Yeah, Karan -- Karan Singh.

24          Q.     Are the people you just mentioned in

25     different divisions or groups within the Facebook              04:26:52

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1      company?                                                           04:26:55

2              A.      Yes.

3              Q.      Okay.   Go through, if you wouldn't mind,

4      and list the groups or divisions in which all those

5      people work.                                                       04:27:14

6              A.      Okay.

7                      MR. SCHWING:     Ben, could I make a

8      friendly suggestion?

9                      I don't know if you have the

10     transcript -- the Live Note up, or whatever.                 But   04:27:19

11     maybe you could just give him the names or

12     something.        I don't -- just -- it may make it

13     easier.

14                     MR. GOULD:     Okay.   A lot of them are --

15     are not really spelled in the --                                   04:27:28

16                     MR. SCHWING:     No.

17                     MR. GOULD:     -- in the real time.

18                     MR. SCHWING:     Maybe you could just

19     broadly --

20                     MR. GOULD:     Yeah.   Right.    I'm not --        04:27:42

21                     (Simultaneously speaking.)

22                     MR. SCHWING:     I don't mean -- I don't

23     mean to interfere.           I'll -- I'll hand you the reins

24     back.        I'm just trying to think about how do we --

25                     MR. GOULD:     No, no, totally, Austin.        I   04:27:46

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1      appreciate that.                                                   04:27:48

2              Q.   (By Mr. Gould)    Here's what -- here's

3      what I'd like you to do, Mr. Miller.

4                   I don't want you to match up names --

5              A.   Okay.                                                 04:27:55

6              Q.   -- with groups or divisions.       I just want

7      you to list the divisions in which those people

8      work.

9              A.   Yeah.

10                  So for example, Ramya is in -- was in --              04:28:06

11     sorry -- was in, say, newsfeed.         Now is in

12     integrity.

13                  Saurabh is in video ranking.       Anjana is

14     in video.

15                  I'm just trying to list all the areas.            I   04:28:37

16     mentioned integrity.      I mentioned newsfeed.          I'm

17     just going through some of the names.

18             Q.   Sure.   Take your time.

19             A.   Newsfeed video ranking, you know, is --

20     is slightly different than video ranking.           I -- I         04:29:02

21     think -- I mean, unless I see the names again, I

22     think that that's exhaustive.

23             Q.   Okay.   That's fine.

24                  Do you know approximately how many

25     Facebook employees work on video ranking?                          04:29:23

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1              A.   A couple things, only because I -- I         04:29:38

2      would be ballparking it only because -- as part of

3      what I prepared for today.

4                   How video is shown to its users, I -- I

5      didn't -- I didn't count like org charts and              04:30:02

6      things.

7              Q.   Fair enough.

8                   Fair to say, though, that there is a

9      group or division within Facebook that has the name

10     video ranking?                                            04:30:12

11             A.   That's fair.

12             Q.   Okay.   You listed, I believe, a group or

13     division that you gave the name video to, like full

14     stop?

15             A.   Yeah.                                        04:30:30

16             Q.   And I take it you're not prepared to

17     testify today about how many employees are in that

18     division or group?

19             A.   (Deponent shakes head.)

20             Q.   Okay.   Fair enough.                         04:30:46

21                  Are you prepared to testify today about

22     the responsibilities or tasks assigned to that

23     division or group?

24                  MR. SCHWING:    It's outside the scope.

25                  THE DEPONENT:    I didn't prepare for it     04:31:03

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1      only because of the scope of -- of 9c.                    04:31:04

2           Q.   (By Mr. Gould)    Okay.    Okay.   Fair

3      enough.

4           A.   Yeah.

5           Q.   It sounds to me, though, like from your         04:31:12

6      testimony, that at least there is a division or

7      group within Facebook that -- that is commonly

8      referred to as video, correct?

9           A.   There -- video is now -- that might not

10     be the right like -- that might be a broad word,          04:31:46

11     but I think it has -- it -- there's a loose

12     meaning, and so that's why I want to be really

13     careful about --

14          Q.   Yeah.

15          A.   I want to be like accurate about how I          04:32:00

16     answer your question, but -- so one more time?

17          Q.   Let me put my question this way.

18          A.   Yeah.

19          Q.   Is it fair to say that whatever the

20     official name of the group or division, there is a        04:32:16

21     group or division within Facebook that is commonly

22     referred to by Facebook employees as video?

23          A.   Yes.

24          Q.   Okay.    You also, I believe, listed a

25     group or division that you gave the name newsfeed         04:32:45

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1      video ranking to, correct?                                    04:32:48

2              A.   Correct.

3              Q.   Okay.   And you're not prepared to testify

4      today about how many employees are in that group or

5      division, correct?                                            04:32:59

6                   MR. SCHWING:     Outside the scope.

7                   THE DEPONENT:     And -- and I would have no

8      clue.

9              Q.   (By Mr. Gould)     Okay.    And any of the

10     groups or divisions we've talked about, do you know           04:33:08

11     how long they've been around?

12                  MR. SCHWING:     It's outside the scope.

13                  THE DEPONENT:     I'm -- I'm trying to --

14     I'm seriously trying to be helpful, but --

15             Q.   (By Mr. Gould)     Yeah.    Yeah.   Yeah.    I   04:33:26

16     get it.

17             A.   I mean, based on when I joined and based

18     on how I prepared, I -- I didn't look into org

19     history.

20             Q.   Okay.   Fair to say, though, that there is       04:33:35

21     a group or division within Facebook that is

22     commonly referred to by Facebook employees as

23     newsfeed video ranking?

24             A.   No.

25             Q.   Okay.   Fair enough.                             04:34:04

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1            A.     It would -- it would be called -- sorry.       04:34:05

2      No.

3            Q.     What would it be called?

4            A.     So when I said -- for example, the person

5      I talked to in -- Karan Singh, I would just say             04:34:17

6      newsfeed ranking, period.

7            Q.     Okay.   Okay.

8            A.     Yeah.

9            Q.     Is there a group -- well, never mind.

10                  Okay.   What documents did you review in       04:34:52

11     preparation for today's deposition?

12           A.     I -- let me think about this for a second

13     because I reviewed a lot of documents.

14           Q.     Yeah.   Take your time.

15           A.     I -- I read over all the documents that        04:35:08

16     were sent over a few days ago, 20-ish, whatever.

17     I read over the notice and the complaint.

18                  I also read over documents that talked

19     about some of these product changes to how the

20     platform showed video to users over time.                   04:35:31

21                  MR. GOULD:      Okay.   I think that does it

22     for me today, unless Mr. Schwing has redirect that

23     raises further questions on my part.

24                  MR. SCHWING:      I just have a few

25     questions.                                                  04:35:54

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1                              EXAMINATION                         04:35:56

2      BY MR. SCHWING:

3             Q.   Mr. Miller, is this a good time to go

4      over a couple questions?

5             A.   Sure.                                           04:36:02

6             Q.   Okay.   I'll be brief.

7                  You were asked some questions and gave

8      some testimony about when users could share videos

9      or posts with video with others.

10                 Do you remember that?                           04:36:18

11            A.   I remember.

12            Q.   Okay.   And is it your understanding that

13     someone can try to share a video or post with a

14     video, but whether another user can actually get

15     access and see that post or video would depend on           04:36:32

16     the original poster's privacy settings?

17            A.   That's -- I'm so sorry.      It's late in the

18     day.    I'm so sorry for you to have to repeat the

19     question --

20            Q.   No problem.                                     04:36:48

21            A.   -- but...

22            Q.   Is it your understanding that whether

23     or -- let me start over.

24            A.   Yeah.   I apologize.

25            Q.   It's -- it's late in the day for me, too.       04:36:58

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1                 Is it your understanding that somebody           04:37:01

2      could try to share a video or post with a video in

3      it with another user, but whether that user could

4      actually see the video or the post with the video

5      would depend on the privacy settings that had been          04:37:22

6      set with respect to that content?

7            A.   That's correct.

8                 Can -- am I allowed to say anything more

9      on that or -- or --

10           Q.   I don't -- I don't think you need to.            04:37:36

11           A.   Okay.

12           Q.   I think if it's correct, that's fine.

13           A.   Great.

14                MR. SCHWING:     All right.     I don't -- I

15     don't have anything else.                                   04:37:44

16                MR. GOULD:     Okay.   Nothing further from

17     me.

18                MR. SCHWING:     Thanks so much, Mr. Miller.

19     Maybe you could just go to the breakout room, just

20     so I can thank you and say goodbye to you and               04:37:55

21     hopefully won't --

22                THE DEPONENT:     Okay.

23                MR. GOULD:     Mr. Miller, thank you.        I

24     really appreciate it.      And I appreciate --

25                SPECIAL MASTER GARRIE:        Congratulations.   04:38:02

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1                 MR. GOULD:     -- your conscientious                 04:38:02

2      efforts.

3                 THE VIDEOGRAPHER:        We're off the record.

4      It's 4:38 p.m.

5                 (Recess taken.)                                      04:38:26

6                 THE VIDEOGRAPHER:        Back on the record.

7      It's 4:38 p.m.

8                 MR. SCHWING:     Okay.     We -- I just wanted

9      to come back on the record to indicate that the

10     transcript should be treated as "Highly                         04:39:02

11     Confidential."

12                The witness will receive the transcript

13     and will review it to make any corrections, will do

14     that within 45 days of receipt of the -- the

15     transcript.                                                     04:39:15

16                MR. GOULD:     And that does it, I think.

17                THE VIDEOGRAPHER:        That does it.       Okay.

18                Off the record.     It's 4:39 p.m.

19                (TIME NOTED:     4:39 p.m.)

20                                                                     04:39:28

21

22                             ---o0o---

23

24

25

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1            I, Rebecca L. Romano, a Registered
2      Professional Reporter, Certified Shorthand
3      Reporter, Certified Court Reporter, do hereby
4      certify:
5            That the foregoing proceedings were taken
6      before me remotely at the time and place herein set
7      forth; that any deponents in the foregoing
8      proceedings, prior to testifying, were administered
9      an oath; that a record of the proceedings was made
10     by me using machine shorthand which was thereafter
11     transcribed under my direction; that the foregoing
12     transcript is true record of the testimony given.
13           Further, that if the foregoing pertains to the
14     original transcript of a deposition in a Federal
15     Case, before completion of the proceedings, review
16     of the transcript [X] was [ ] was not requested.
17           I further certify I am neither financially
18     interested in the action nor a relative or employee
19     of any attorney or any party to this action.
20           IN WITNESS WHEREOF, I have this date
21     subscribed my name this 27th day of July, 2022.
22
23
                <%7321,Signature%>
24              Rebecca L. Romano, RPR, CCR
25              CSR. No 12546

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                                HIGHLY CONFIDENTIAL

 1   RE:     FACEBOOK,      INC.,    CONSUMER USER PROFILE LITIGATION

 2    DAVID MILLER        (JOB NO.       5300521)
 3                          E R R A T A          S H E E T

 4    PAGE   17      LINE   14- - CHANGE "would go to" to "would --
                            -           ------------
 5    could go to"
 6   REASON    Mistranscription
 7    PAGE19     LINE 14             CHANGE "I     don't" to "I don't remember
                     ---                       ------------
 8    when it was launched"
 9   REASON    Mistranscription
10    PAGE 25        LINE 12         CHANGE     "if -- video" to "if -- the profile
11    owner had posted a video"
12   REASON    Mistranscription
13    PAGE26         LINE   18           "video on 2016" to "video
                            - - - CHANGE - - - - - - - - - - - -
14    around      2016"

15    REASON   Mistranscription
16    PAGE3O         LINE   12          "or let's" to "well let's"
                            - - - CHANGE- - - - - - - - - - - -
17

18    REASON   Mistranscription
19    PAGE 30        LINE 15         CHANGE     "across all -- across all the"
20    to "across all the -- across all the"
21    REASON Transcription      Error
22
23
24    DAVID MILLER                                             Date
25

                                                                        Page 132

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                                         866 299-5127
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 1   RE:    FACEBOOK,     INC.,    CONSUMER USER PROFILE LITIGATION

 2   DAVID MILLER       (JOB NO.       5300521)

 3                        E R R A T A          S H E E T

 4   PAGE   34     LINE   23       CHANGE     "experience and the user"
 5    to "experience and the users"
 6   REASON   Mistranscription
     PAGE 4 5          14    CHANGE           "number of services" to
 7          - - - LINE - - -

 8    "number of surfaces"
 9   REASON   Mistranscription
10   PAGE 46       LINE3               "services" to "surfaces"
                          - - - CHANGE - - - - - - - - - - - -
11

12   REASON   Mistranscription
13   PAGE 49       LINE   19-20 CHANGE "oh, yeah, I think that video

14    is about dogs." to '"'oh, yeah, I think that video is about dogs.""

15   REASON   Mistranscription
16   PAGE56        LINE   10       CHANGE       · es. "t0 "AV
                                              "AV           · ea h"
                                                                  .
            ---           ---
17

18   REASON   Mistranscription
19   PAGE5?        LINE   17       CHANGE     "typically" to "typical"
                                             ------------
20
21   REASON   Mistranscription
22
23

24   DAVID MILLER                                            Date

25

                                                                    Page 132

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                             HIGHLY CONFIDENTIAL

 1   RE: FACEBOOK, INC., CONSUMER USER PROFILE LITIGATION

 2    DAVID MILLER (JOB NO. 5300521)

 3                     E R R A T A         S H E E T

 4    PAGE 62          5 - - CHANGE "live
                  LINE -                         stream video" to "live
                                         ------------
 5    streamed video"
 6   REASON Mistranscription

 7    PAGE 62     LINE 7-8      CHANGE "like     Benjamin Gould was
 8    live." to "like, "Benjamin Gould was live.'"'
 9   REASON Mistranscription

      PAGE 6 5        11           "Use a little" to "I could use
10         - - - LINE - - - CHANGE - - - - - - - - - - - -
11    a little"
12   REASON Mistranscription

13    PAGE 76     LINE 4        CHANGE "where a video has shown" to

14    "where video is shown"
15   REASON Misspoke

16    PAGE89                    CHANGE "example          that" to "example
           ---
17    of that"
1a    REASON Mistranscription

19                              CHANGE "It    sells" to "It's also"
                                         ------------
20
21    REASON Mistranscription

22
23
24    DAVID MILLER                                       Date
25

                                                                 Page 132

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 1   RE: FACEBOOK, INC., CONSUMER USER PROFILE LITIGATION
 2   DAVID MILLER (JOB NO. 5300521)
 3                     E R R A T A        S H E E T
     PAGE 10 1    LINE 6           "we J·ust should" to "we
 4                    - - - CHANGE - - - - - - - - - - - -
 5    should just"
 6   REASON Mistranscription
 7   PAGE 105     LINE 11      CHANGE "horizontal tray content" to

 8    "horizontal tray of content"
 9   REASON Mistranscription

10        106_ LINE _
     PAGE _         15 _ CHANGE "N 0, n0. YOU             go. "t0 "N 0,
11    you go."
12   REASON Mistranscription

13   PAGE 117          21- - CHANGE
                  LINE -

14

15   REASON Mistranscription

16   PAGE 118     LINE 8       CHANGE "Ramya Seetharaman" to

17    "Ramya Sethuraman"

18   REASON Mistranscription

19   PAGE 11 8    LINE 11 CHANGE "Karsten Hansen" to
                      ---
20    "Carsten Hansen"
21   REASON Mistranscription

22
23
24   DAVID MILLER                                       Date
25

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 1    RE: FACEBOOK, INC., CONSUMER USER PROFILE LITIGATION
 2    DAVID MILLER (JOB NO. 5300521)

 3                      E R R A T A       S H E E T

 4    PAGE 121 LINE 3         CHANGE "what I prepared for today."

 5    to "what I prepared for today -- 11
 6    REASON Mistranscription
      PAGE 121   LINE -4            "How video" to "how video"
 7
                         - - CHANGE - - - - - - - - - - - -
 8    Mistranscription
 9    REASON
               ----------------------
10    PAGE - - - LINE - - - CHANGE
                                   ------------
11

12    REASON
               ----------------------
13    PAGE - - - LINE         CHANGE _ _ _ _ _ _ _ _ _ _ __

14

15    REASON
               ----------------------
16    PAGE - - - LINE - - - CHANGE
                                   ------------
17

18    REASON
               ----------------------
19    PAGE - - - LINE - - - CHANGE
                                   ------------
20
21    REASON
               ----------------------
22
23
24    DAVID MILLER                                      Date
25

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[& - access]

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   16:15 20:10      22 1:16 2:18 9:1      6 1:12           absolutely
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[access - associate]

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                  Federal Rules of Civil Procedure

                                  Rule 30



     (e) Review By the Witness; Changes.

     (1) Review; Statement of Changes. On request by the

     deponent or a party before the deposition is

     completed, the deponent must be allowed 30 days

     after being notified by the officer that the

     transcript or recording is available in which:

     (A) to review the transcript or recording; and

     (B) if there are changes in form or substance, to

     sign a statement listing the changes and the

     reasons for making them.

     (2) Changes Indicated in the Officer's Certificate.

     The officer must note in the certificate prescribed

     by Rule 30(f)(1) whether a review was requested

     and, if so, must attach any changes the deponent

     makes during the 30-day period.




     DISCLAIMER:      THE FOREGOING FEDERAL PROCEDURE RULES

     ARE PROVIDED FOR INFORMATIONAL PURPOSES ONLY.

     THE ABOVE RULES ARE CURRENT AS OF APRIL 1,

     2019.    PLEASE REFER TO THE APPLICABLE FEDERAL RULES

     OF CIVIL PROCEDURE FOR UP-TO-DATE INFORMATION.
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      COMPANY CERTIFICATE AND DISCLOSURE STATEMENT

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